            IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF FLORIDA
                   TALLAHASSEE DIVISION



                 CASE NO. 4:20-cv-00020-MW/MAF


JAMI CLAIRE, KATHRYN LANE and
AHMIR MURPHY,

            Plaintiffs,
vs.

FLORIDA DEPARTMENT OF
MANAGEMENT SERVICES, et al,

          Defendants.
______________________________




      ZOOMED DEPOSITION OF RYAN NICHOLAS GORTON, M.D.

                 Monday, January 4, 2021

                   12:01 p.m. - 3:48 p.m.

                          Via Zoom

                Tallahassee, Florida   32308



               STENOGRAPHICALLY REPORTED BY:

                     SANDRA L. NARGIZ
              RPR, CM, CRR, CRC, FPR, CCR-GA




Job No. 170036
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   2     WITNESS                                            PAGE
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   5

   6

   7

   8

   9     (STENOGRAPHER'S NOTE: All documents were sent to
         Stenographer electronically. A digital exhibit
  10     sticker was placed on the documents which were
         marked during the proceeding.)
  11

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   1       The following Zoom proceedings began at 12:01 p.m.
   2                                   * * *
   3                  THE STENOGRAPHER:    Would you raise your
   4           right hand, please.
   5                  Do you swear or affirm that the testimony
   6           you are about to give will be the truth, the
   7           whole truth, and nothing but the truth?
   8                  THE WITNESS:    I do.
   9                  THE STENOGRAPHER:    Thank you.
  10     Thereupon,
  11                         RYAN NICHOLAS GORTON, M.D.
  12     having been first duly remotely sworn or affirmed,
  13     as hereinafter certified testified as follows:
  14                           DIRECT EXAMINATION
  15     BY MS. COLES:
  16           Q      Good afternoon, Dr. Gorton.    My name is
  17     Miriam Coles.        I represent the Department of
  18     Management Services and Jonathan Satter in this case
  19     and I will be taking your deposition today.
  20                  Have you ever been deposed before?
  21           A      Yes.
  22           Q      All right.    Can you tell me approximately
  23     how many times you have been deposed in the past?
  24           A   Maybe somewhere between five and ten.
  25           Q   All right.       I am going to come back and


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   1     ask you more questions about that, but as it relates
   2     to the rules of the depo, it sounds like you are
   3     very familiar with how these go.     Because it's all
   4     virtual, I will try to take even more care to make
   5     sure I let you finish answering your question before
   6     I ask my next question so we don't accidentally
   7     speak over each other.     If you will do the same,
   8     that will be very helpful for the court reporter.
   9     Okay?
  10           A     Yes.
  11           Q     All right.   Also, sometimes this stupid
  12     Zoom video freezes up and the other person may not
  13     realize that they have frozen.     If at any time I
  14     freeze up and you are not hearing me, just wave or
  15     signal or let the court reporter know and I will do
  16     the same.    The last time we had one of these, there
  17     were several times where I missed the end of the
  18     answer, so I apologize in advance if I ask you to
  19     repeat yourself.    Just sometimes my Zoom is
  20     terrible.
  21                 If you don't understand a question I ask,
  22     please let me know and I will clarify.    Okay?
  23           A     Yes.
  24           Q     All right.   Can you tell me all the
  25     documents you reviewed in coming up with your


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   1     opinions in this case?
   2           A   Dr. Levine's report.    I did look at a
   3     couple of the articles that he cited, and I think
   4     there may be some citations in my report.      But other
   5     than that, nothing.
   6           Q   All right.     Do you recall which articles
   7     cited by Levine that you looked at?
   8           A   One of them was the article by Jack Turban
   9     in Pediatrics; the article by Cecilia Dane.      There
  10     may have been others, but those are the two that
  11     stick out in my memory.
  12           Q   All right.     Can you please state your full
  13     name for the record.
  14           A   Yes.    It's Ryan Nicholas Gorton, and the
  15     last name is spelled G-o-r-t as in Thomas, o-n as in
  16     Nancy.
  17           Q   All right.    I apologize for mispronouncing
  18     it earlier.   What's your business address?
  19           A   I have two.
  20           Q   Okay.
  21           A   The first is -- we just moved last year --
  22     1735 Mission in San Francisco.    And that's
  23     Lyon-Martin Health Services and I couldn't give you
  24     the zip code offhand.
  25               And the other is my emergency medicine


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   1     practice is at Sutter Davis Hospital, and the
   2     address there is 2000 Sutter Place, Davis,
   3     California 95616.
   4           Q   Tell me how long have you worked for
   5     Lyon-Martin.
   6           A   Since 2005.
   7           Q   Okay.     Has your role there been the same
   8     since 2005?
   9           A   More or less.
  10           Q   And what do you do at that facility?
  11           A   I am a primary care provider for my panel
  12     of patients.     I also supervise the nurse
  13     practitioners.     Previously -- we also have PAs, so
  14     mid-level providers, as well as registered nurses,
  15     in caring for those patients; and also the -- for
  16     the mid-level providers, the nurse practitioner/PA,
  17     I also am -- they have their own panel of patients,
  18     but I consult with them on patients.     So that's the
  19     clinical aspect.
  20               I do education, both at the clinic, we
  21     have students rotating, not so much this year
  22     because of coronavirus, but in previous years.     So
  23     we have medical nurse practitioner/PA students who
  24     rotate through, and I'm often the primary clinical
  25     instructor for them.


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   1                   I also -- the clinic also does teaching
   2     for sort of other clinics, like we offer clinical
   3     technical assistance, which again, recently not as
   4     much, because this year has been unusual in many
   5     ways.       And I also am the lead clinician for
   6     TransLine, T-r-a-n-s-L-i-n-e, it's all one word,
   7     which is a national clinical consultation service,
   8     which means that say a provider who has only treated
   9     zero to a handful, though, honestly I've had --
  10     we've had experienced providers who have called with
  11     questions too, generally more difficult ones.      So
  12     the idea is other clinicians can request assistance
  13     with their patient situation; sometimes simple
  14     questions and then very complex questions.
  15                    And I also do two months a year as the
  16     sort of primary responder to questions in addition.
  17             Q     So for the TransLine two months of the
  18     year you are the main one answering the questions?
  19             A     Yes.
  20             Q     Approximately how many hours a week do you
  21     spend working directly with patients at Lyon-Martin?
  22             A     My current schedule is one day a week,
  23     which is Thursdays from 8:35, I think we start
  24     preparing for patients, though my last patient is
  25     at -- is around 5:00, maybe 4:40.


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   1               But in previous years, especially earlier
   2     on in the time that I was there, like say the first
   3     five or ten years, I worked more, oftentimes two
   4     days a week.   And then also, just to be very
   5     specific, this year, the clinic has basically said
   6     to all the providers there, half of your clinical
   7     time is done telemedicine.     So at present, what I do
   8     is one week I will go to the clinic, be there in
   9     person, and then the alternate week -- I still see
  10     patients, it's just done by telemedicine.
  11           Q   At the height of your -- when you were
  12     doing the most direct patient care at Lyon-Martin,
  13     was it two days a week?
  14           A   It was really -- I think on average,
  15     that's absolutely a good estimate.       A lot of it had
  16     to do with what my ER schedule was.       I primarily
  17     worked weekends, so there was a consistent day.          And
  18     then most weeks I would add another day and some
  19     weeks I went there three days.
  20           Q   What is your patient population like at
  21     Lyon-Martin?
  22           A   The clinic overall, about 60 percent of
  23     our patients are transgender or gender
  24     nonconforming, something along that spectrum.      The
  25     rest are cisgender patients.     We certainly see more


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   1     lesbian/bisexual women or a greater percentage of
   2     lesbian/bisexual women.       My panel is somewhat
   3     similar, although I think I probably more than -- I
   4     have more than the average share of transgender
   5     patients.
   6           Q     And for a day that goes from 8:35 to 5:00,
   7     approximately, I understand it may change depending
   8     on why different patients are there, but
   9     approximately how many patients do you see in a day?
  10           A     It's three -- it's one every 20 minutes.
  11     So say that's eight hours of -- so would that be --
  12     it's probably more like 21 or so.         And that's what
  13     is scheduled.
  14                 Sometimes there will be people who don't
  15     show for appointments and sometimes there's
  16     walk-ins, so it's kind of fluid.
  17           Q     Okay.
  18           A     Just to clarify, those are obviously just
  19     my patients.
  20           Q     Right.   Right.
  21           A     I consult with the mid-level providers',
  22     quite frequently, patients.
  23           Q     And I imagine the mid-level providers are
  24     seeing their own group of patients but under the
  25     supervision of a physician?


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   1           A   Correct.
   2           Q   Okay.     And when you -- what's your
   3     practice for providing supervision to mid-levels?
   4     Do you review a certain number of record charts, or
   5     do you only address issues when it's brought to you
   6     by the mid-level?
   7           A   It's typically the latter, though I would
   8     say patients that I am involved in, which nine times
   9     out of ten are trans patients, I would say somewhere
  10     in the order of 5 to 10 percent of their patients.
  11           Q   So for those patients, you, I guess, take
  12     a more active role in reviewing the charting and
  13     consulting with the mid-level?
  14           A   That's correct.    And sometimes seeing the
  15     patients, either as they bring me in to see a
  16     patient in a visit or they schedule their patient to
  17     come to see me for a set appointment to address a
  18     particular issue.
  19           Q   Are you providing all-around general
  20     primary care services for your patient panel?
  21           A   Yes.
  22           Q   Is there a percentage of your panel that
  23     just comes to you relating to transition-related
  24     care and services?
  25           A   There's a small percentage, less than


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   1     five, that have a primary care provider who they see
   2     for most of their care.    But that primary care
   3     provider may not be comfortable starting patients on
   4     treatment or continuing that treatment, though I
   5     would say the majority of those, eventually their
   6     primary care provider just picks it up because once
   7     you've started people, it's pretty simple to
   8     continue the care that another provider started.
   9                 So in that, I guess you would call it
  10     consultation role, I will actually write
  11     consultation notes in the same way that a
  12     cardiologist writes a consultation note and send it
  13     back to the provider.     And sometimes that may be the
  14     last I see the patient and the provider takes over.
  15     But more often, I see them at least for a few more
  16     visits until they're stable on things.
  17           Q     Of your transgender patients, what
  18     percentage of them do you think are on cross-sex
  19     hormones?
  20           A     Probably 95 percent, and that includes
  21     patients who may be on hormone-modulating medicines
  22     but not cross-sex hormones.
  23                 For example, a patient with a previous
  24     blood clot in their legs and we don't restart
  25     estrogen but we start the antiandrogens, which


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   1     technically may not be considered hormones but we
   2     are using them to modulate the patient's hormones.
   3           Q   Do you prescribe hormones for any of your
   4     cisgender patients?
   5           A   Yes.
   6           Q   What type of hormones and for what reason?
   7           A   Birth control pills.    Occasionally, but
   8     this is infrequent, post-menopausal hormone
   9     supplementation for people who have otherwise
  10     uncontrollable menopausal symptoms.    I would say
  11     that's the majority.   It's contraception and hormone
  12     replacement therapy.
  13           Q   What percent of your transgender patient
  14     base have undergone some type of gender-affirming
  15     surgical procedure?
  16           A   I would say at least two-thirds, maybe
  17     more than that, but I haven't actually sat down and
  18     tallied that, so I couldn't tell you for certain.
  19     But definitely the majority.
  20           Q   Of that group that have undergone some
  21     type of gender-affirming surgical procedure, what
  22     percentage would you estimate have undergone a
  23     genital reconstructive surgery?
  24           A   I would still say the majority but
  25     probably not two-thirds.


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   1           Q      Do you see any patients that suffer from
   2     gender dysphoria but have not undergone any type of
   3     gender-affirming surgical procedure?
   4           A      Yes.
   5           Q      Do you have any transgender patients that
   6     identify transgender but do not suffer from gender
   7     dysphoria?
   8           A      I have some patients who have been treated
   9     appropriately, they have had hormones, they had
  10     surgeries, they are sort of at the end of the
  11     medical and surgical care spectrum; they're more
  12     comfortable with their bodies, and I think some of
  13     those patients really don't have a clinically
  14     significant amount of gender dysphoria
  15     post-transition.
  16                  But that's certainly not always the case,
  17     and it would be the case that if that person, for
  18     some reason their body changed or they lost the
  19     changes that they had, like say they were taken off
  20     hormones for a decision that wasn't theirs, then
  21     that person might have a resurgence of the gender
  22     dysphoria.     So I guess you could say it's in
  23     remission.
  24           Q      Do you have gender-nonconforming patients
  25     that do not suffer from gender dysphoria?


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   1           A     Yes.
   2           Q     How do you define gender-nonconforming?
   3           A     Someone whose behaviors and way that they
   4     interact with the world does not conform to
   5     stereotypical notions of maleness and femaleness.
   6     So that's a pretty broad category.
   7           Q     So does that include individuals who
   8     might, I guess they may identify as female or male
   9     but also embrace stereotypical behaviors associated
  10     with the other gender?
  11           A     Yes.   A good example would be butch
  12     lesbians, for example, or effeminate gay men.
  13           Q     Approximately how much of your time do you
  14     spend at the other facility doing emergency medical
  15     services?
  16           A     I work at least eight, but 11 or less
  17     shifts per month, and each shift is usually nine
  18     hours long.     The length varies a little bit.
  19           Q     And what type of facility -- I've
  20     forgotten the name.     California Davis?
  21           A     No, it's Sutter Davis Hospital.   We are
  22     always confused with the University of California
  23     Davis Medical Center.     And we are a community
  24     hospital.     We are not a tertiary care center or
  25     referral center.


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   1           Q     Do you have a trauma level?
   2           A     No, we do not.
   3           Q     Okay.   And your patient population there
   4     is just pretty much a mix, everything that comes
   5     into the emergency department?
   6           A     Yes.
   7           Q     I think you indicated earlier that you
   8     normally work weekends at the emergency department.
   9           A     Yes, I usually work two weekends where I
  10     work four days, Friday through Monday, Friday night
  11     through Monday night, and then maybe a few extra
  12     shifts here and there, daytime, mid-time.
  13           Q     All right.   I meant to ask you this.   At
  14     the other facility, Lyon-Martin, do you treat
  15     children?
  16           A     At Lyon-Martin we treat adolescents of
  17     legal age, which means people who are over 18 and so
  18     they are legally adults but they, from a medical
  19     perspective, have not always completed adolescence.
  20           Q     It sounds like you don't have any patients
  21     there that are under 18?
  22           A     Correct.
  23           Q     Obviously in the emergency department you
  24     may see children that come in.
  25           A     Any patient, any problem, any time.


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   1           Q   Okay.     And you are licensed to practice in
   2     California?
   3           A   Yes.
   4           Q   Are you licensed to practice in any other
   5     state?
   6           A   Not currently.
   7           Q   Have you ever been licensed to practice in
   8     any other state?
   9           A   Yes.     I was licensed in New York state,
  10     which is where I did my residency and got my first
  11     medical licensure.     And I practiced a few years in
  12     Louisiana, so I was licensed there and subsequently
  13     I came to California and that's where I have been
  14     practicing since.
  15           Q   Are you board certified?
  16           A   Yes.
  17           Q   What areas are you board certified in?
  18           A   Emergency medicine.
  19           Q   When did you obtain your board
  20     certification?
  21           A   I think 2003.    I finished residency in
  22     2002, and it's a two-part boards, but I think by the
  23     end of 2003 I completed it.
  24           Q   All right.    And how much do you charge per
  25     hour for your services for your expert review, if


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   1     any?
   2            A     I generally charge zero dollars per hour.
   3            Q     Have you ever charged for expert review?
   4            A     Yes.
   5            Q     When you typically charge for your expert
   6     review, how much do you charge?
   7            A     I think the last time it was -- I am
   8     reaching at straws here -- but 125, 150, something
   9     in that range.
  10            Q     For a legal review?      That's a deal.
  11            A     No.    There was one case I did which
  12     involved a physician who had treated a transgender
  13     patient and he wasn't being sued for malpractice but
  14     he had state licensure problems, so I was his -- I
  15     was an expert witness for him.
  16            Q     In his licensure proceeding?
  17            A     In his licensure proceeding, I think,
  18     yeah.
  19            Q     It sounds like most the time you don't
  20     charge, you do it on a volunteer basis?
  21            A     I don't charge an hourly rate but I do
  22     expect compensation for travel.
  23            Q     Approximately how many times have you been
  24     retained as an expert witness, we'll say in the last
  25     ten years?


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   1           A   In the last ten years?    More than five,
   2     less than ten.
   3           Q   And did all the cases that you were
   4     retained in relate to, I guess, care or treatment
   5     for transgender individuals?
   6           A   Yes.
   7           Q   Have you ever been retained as an expert
   8     relating to emergency services?
   9           A   I don't believe so, no.
  10           Q   Okay.
  11           A   I have testified as a witness in emergency
  12     medicine cases but not to defend someone.   It's the
  13     State of California versus the person who assaulted
  14     a patient I took care of.
  15           Q   Have you testified as an expert either by
  16     deposition or trial in the last four years?
  17           A   Yes.
  18           Q   In what cases?
  19           A   So one was Ms. Edmo in Idaho who was a
  20     transgender prisoner who was seeking
  21     gender-affirming care.
  22               One was Cruz v. Zucker in New York which
  23     involved plaintiffs suing the -- I don't know if it
  24     was the State of New York or the Medicaid agency in
  25     New York, but the suit was to get Medicaid to pay


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   1     for transition-related care.
   2                  And I am trying to think.    This is a
   3     little embarrassing.     You have the list.
   4           Q      You are doing great, though.   That's
   5     pretty impressive.     A lot of times people don't
   6     remember.     I am going to share the report so you can
   7     see it.     I am going to attempt to.
   8           A      Actually if it was in my report, I think I
   9     have that because --
  10           Q      Can you see that?
  11           A      Yes.   So the second two we spoke about.
  12     The first one was a transgender woman who was in
  13     prison in Florida who was seeking not necessarily
  14     just medical care but accommodations to --
  15     accommodations that would be appropriate for a
  16     female prisoner in Florida prisons.
  17           Q      How many times have you been retained as
  18     an expert by the ACLU?
  19           A      This time, Keohane -- I am trying to
  20     think, I don't think there were any other times that
  21     I was deposed or testified at trial for the ACLU.
  22     There is a chance I may have signed a written, a
  23     brief for them, but nothing jumps out in my head
  24     right now.
  25           Q      Who retained you in Cruz v. Zucker?


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   1           A     There were three legal agencies, one of
   2     them was The Sylvia Rivera Law Project, the New York
   3     Legal Aid Society and some private law firm whose
   4     name escapes me.
   5           Q     How about in Edmo?
   6           A     In Edmo, it was NCLR, the National Center
   7     for Lesbian Rights and, again, a private legal
   8     practice that was doing it with them.
   9           Q     In the last four years, approximately how
  10     much of your income is derived from legal consulting
  11     work?     And I am going to say the answer is probably
  12     none.
  13           A     Correct.
  14           Q     And is it that you do this work on a
  15     volunteer basis because it's something that you feel
  16     passionate about?
  17           A     I do this type of legal consulting and
  18     also the work that I do at Lyon-Martin is all
  19     pro bono.    And the reason is, firstly I think most
  20     physicians should do some pro bono work.    We are
  21     very well compensated generally so we can do that,
  22     and even though we worked hard to get through
  23     school, the reason we were able to do that and
  24     schools existed was because society invested in
  25     those, and I think we owe that ethically.    So that's


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   1     the primary reason.
   2           Q   Why this type of work specifically?
   3           A   The reason that I do this type of work
   4     specifically is because I think this is a very
   5     severely underserved community, and my experience as
   6     someone who was seeking this type of care in the
   7     early 2000s was that there was not much available.
   8     And so I decided this was the place that I wanted to
   9     do my volunteer work in the same way that if I knew
  10     asthma was a thing and no physicians were treating
  11     it and people were dying left and right from asthma,
  12     what would I do?    I would open an asthma clinic.
  13           Q   All right.     So for these three cases, were
  14     these all depositions or did you actually go to
  15     trial for any of these?
  16           A   I went to trial in Cruz v. Zucker.    No,
  17     sorry, in Edmo.    I was deposed in Cruz v. Zucker and
  18     Keohane, but Edmo I was deposed in and I went to
  19     trial.
  20           Q   Okay.    So are all of your opinions that
  21     you are rendering in this case contained in your
  22     expert report?
  23           A   It depends on what's asked of me
  24     subsequently.
  25           Q   But in terms of what you intend to go into


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   1     court to talk about would be the WPATH Standards of
   2     Care?
   3           A     There's a lot more than the WPATH
   4     Standards of Care that go into this treatment, so I
   5     would think it would be very unusual if that's the
   6     only thing I talked about.
   7           Q     Well, your expert report -- so did you
   8     prepare this document that's identified as your
   9     rebuttal report?
  10           A     I did.
  11           Q     What were you asked to do relating to the
  12     opinions that you are going to give?     What opinions
  13     were you asked to give or what subjects were you
  14     asked to look at?
  15           A     Basically Dr. Levine's report.   That's the
  16     only thing I was given --
  17           Q     Okay.
  18           A     -- to look at.   That was my only -- the
  19     request that I had was to look at his report,
  20     evaluate it.
  21           Q     Okay.    So it looks like you are addressing
  22     Dr. Levine's opinions regarding the standards of
  23     care from the perspective of a physician.     Is that
  24     accurate?
  25           A     I think broadly you could say from the


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   1     perspective of a physician, but not only in respect
   2     to the clinical day-to-day work I provide to
   3     patients.    I think being a physician is definitely
   4     more work than that and my experience has been
   5     significantly more work than that.
   6           Q     Do you provide any mental health treatment
   7     or services to patients?
   8           A     Yes.
   9           Q     What mental health treatment and services
  10     do you provide to your patients?
  11           A     I am assuming we are talking about at
  12     Lyon-Martin?
  13           Q     Yes.
  14           A     I essentially provide the medical
  15     healthcare -- or I am sorry, the mental healthcare
  16     that you would typically find in a primary care
  17     provider, in that there are a number of mental
  18     illnesses that in their less complicated form are
  19     diagnoseable within primary care and treatable
  20     within primary care, both by medications and
  21     referral for psychotherapy.
  22                 But certainly there are some patients who
  23     I think are beyond the simple mental health problems
  24     that can be treated within the primary care setting
  25     and I may refer people to psychiatry.


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   1           Q   Does Lyon-Martin have a, I guess a part of
   2     the clinic that is psychiatry or psychology?
   3           A   We have mental health providers who are
   4     therapists, and up until recently we had a
   5     psychiatrist, but she left for other opportunities,
   6     and so we currently are looking for one.
   7           Q   So when you refer a patient to a
   8     psychiatrist, do you refer them for counseling
   9     within the clinic?
  10           A   It could be either/or.
  11           Q   What percent of your patients with gender
  12     dysphoria also have a separate healthcare provider
  13     such as a psychologist or psychiatrist?
  14           A   When you say separate, do you mean outside
  15     of Lyon-Martin?
  16           Q   No, I just mean separate from your primary
  17     care services.
  18           A   I would say probably that in a given
  19     calendar year, maybe 30 to 40 percent of my patients
  20     have a separate mental health provider, although
  21     it's not infrequent that those services are for a
  22     short period and may not encompass the whole year.
  23           Q   When it comes to making recommendations
  24     for gender-affirming surgeries, do you refer those
  25     outside the clinic?   How does that work?


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   1           A      Again, it could be either.   If patients
   2     have a mental health provider external to the clinic
   3     who has been following them and who knows them, I
   4     absolutely will contact that provider and say do you
   5     think this is appropriate; and if you think it's
   6     appropriate, are you comfortable writing a letter
   7     for this patient.
   8                  If the patient doesn't have an external
   9     mental health provider, we usually refer them to one
  10     of our in-house providers.
  11           Q      If you have a patient -- how frequently do
  12     you diagnose gender dysphoria, or do you make a
  13     preliminary diagnosis and then refer an individual
  14     to, I guess, a mental health provider for follow-up?
  15           A      I think there's two questions you are
  16     asking.   So the first is, what percentage of my
  17     patients do I refer for mental health follow-up
  18     specifically related to their gender dysphoria?         I
  19     would say -- sorry, let me reword that.      What
  20     percent of my patients do I refer for evaluation or
  21     treatment from a mental health provider that doesn't
  22     involve just a simple evaluation for surgical
  23     readiness?     Maybe a third.
  24                  And I think the other part of the question
  25     was -- actually I can't remember what it was.


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   1           Q     It was a compound question.   It was a bad
   2     question.
   3                 Do you diagnose gender dysphoria as part
   4     of your primary care practice?
   5           A     Yes.
   6           Q     Once you have made a diagnosis of gender
   7     dysphoria, do you refer that patient to a mental
   8     health provider for additional treatment for gender
   9     dysphoria or do you continue to manage the patient
  10     for gender dysphoria?
  11           A     That entirely depends on the patient's
  12     clinical situation.
  13           Q     Okay.   What percentage of patients after
  14     you have diagnosed them with gender dysphoria do you
  15     refer out for psychiatry/psychology to manage the
  16     gender dysphoria?
  17           A     I would say -- again, apart from surgical
  18     evaluations, I would say something on the order of a
  19     third that I think probably need therapy, if nothing
  20     else, to help them to navigate their transition.
  21     But it's much less frequent that I am in doubt as to
  22     the diagnosis and am requesting diagnostic
  23     assistance.    I would say that's less than
  24     10 percent, probably less than 5 percent.
  25           Q     So what percentage of your patients with


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   1     gender dysphoria do you send out for a surgical
   2     evaluation to mental health?
   3           A   And that's referral within my clinic or
   4     external to my clinic?
   5           Q   Yes.
   6           A   If they are going to be getting surgery,
   7     it's essentially 100 percent.
   8           Q   Okay.   So you do not provide -- as a
   9     primary care physician, you do not provide the
  10     surgical psychiatric evaluation?
  11           A   I provided an evaluation that includes the
  12     patient's mental health and ability to complete
  13     surgery successfully, but I also provide medical
  14     information that a mental health provider wouldn't
  15     necessarily make decisions on.
  16               For example, is this person's diabetes
  17     well-enough controlled to have surgery?   And that's
  18     why most surgeons and most insurers require both a
  19     medical provider's letter and a mental health
  20     provider's letter.
  21           Q   So you might provide letters for a medical
  22     clearance type of evaluation assessment whether the
  23     patient's medically stable for whatever particular
  24     surgery that they are getting?
  25           A   That's included, but is not all of what I


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   1     provide in a letter.    As I said, there's
   2     psychological evaluation, too.
   3           Q   But they also have to have a separate like
   4     psychiatric evaluation apart from your evaluation?
   5           A   Essentially 100 percent for patients who
   6     are insured, and I would say 90 percent of surgeons
   7     would require a mental health letter.       But since my
   8     patients are generally poor, they all get it through
   9     insurance, so it is essentially 100 percent.
  10           Q   All right.    Aside from -- you would agree
  11     that you are not a licensed psychologist or
  12     psychiatrist, correct?
  13           A   I am not board certified in psychiatry and
  14     I am not a licensed psychologist.        There is no
  15     license for psychiatry.
  16           Q   You are not a practicing psychiatrist?
  17           A   That's correct.
  18           Q   Have you ever worked for a health
  19     insurance company?
  20           A   I have worked with them as a consultant.
  21           Q   What health insurance companies have you
  22     worked with?
  23           A   So the San Francisco Health Plan, we did
  24     trainings for them and I did at least one, maybe a
  25     couple.


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   1           Q   What was the purpose of the trainings?
   2           A   It was to give sort of a layman's idea of
   3     what the treatment of transgender people entails.     I
   4     mean, they are not totally laypersons because
   5     they're -- they work in insurance but they are also
   6     not clinicians.
   7           Q   When did you provide these trainings for
   8     the San Francisco Health Plan?
   9           A   Maybe between five and ten years ago.     And
  10     in addition to the trainings, I was on a committee
  11     that was talking with Healthy San Francisco about
  12     how patients should be able to access care through
  13     that program.
  14           Q   Did you provide any consulting services
  15     for the San Francisco Health Plan relating to what
  16     benefits they should cover?
  17           A   Yes.
  18           Q   And what was the scope of that consulting?
  19           A   In 2011 maybe, the California Medicaid
  20     agency, Medi-Cal, sent a memo to all their insureds
  21     that said you have to cover trans care, you cannot
  22     exclude it because that is essentially
  23     discrimination and it's prevented under the Medicaid
  24     regulations.
  25               Subsequently, insurers who had not


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   1     previously had to do this had to learn how to do
   2     this, and so in particular with San Francisco Health
   3     Plan and Healthy San Francisco, a lot of it was
   4     discussions about what is needed, what might be
   5     needed, what is appropriate preparation for patients
   6     before surgical treatments.
   7           Q      So prior to 2011, did the San Francisco
   8     Health Plan not cover gender-affirming care?
   9           A      I think they covered hormones.   I am not
  10     entirely sure.    I think hormones and primary care
  11     visits.
  12           Q      Prior to 2011, the San Francisco Health
  13     Plan, is that the health plan for the city of San
  14     Francisco?
  15           A      No, that's the Medicaid program, Medi-Cal
  16     program in San Francisco, one of the two that you
  17     can choose if you are a San Francisco resident who
  18     is a Medicaid recipient.
  19           Q      Prior to 2011, the San Francisco Medicaid
  20     or Medi-Cal health plan did not cover
  21     gender-affirming surgeries?
  22           A      Not for gender dysphoria.    So, for
  23     example, if I had a transgender man who had
  24     endometriosis and severe vaginal bleeding causing
  25     anemia, they might cover a hysterectomy, but it


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   1     wasn't for the diagnosis gender dysphoria.
   2           Q   That makes sense.    If it was -- if a
   3     service was needed for another diagnosis, it might
   4     be covered, but not for the diagnosis of gender
   5     dysphoria prior to 2011?
   6           A   Correct.   And at that time, it was
   7     referred to as gender identity disorder, referred to
   8     as gender identity disorder.
   9           Q   Any other consulting like that that you
  10     have done for health insurance companies?
  11           A   I was a subject matter expert, not for a
  12     health insurance company but for the California
  13     Department of Insurance.   They were preparing an
  14     economic impact assessment, because the Department
  15     of Insurance wanted to see if it was appropriate to
  16     require insurers throughout the state of California
  17     to cover trans-related care, hormone, surgery,
  18     mental health, primary care.    And I think I had two
  19     meetings with them where I basically sat down with
  20     the actuaries and answered essentially technical
  21     questions about this.
  22           Q   Approximately when was that?
  23           A   Probably around the same time, like
  24     between 2010 and 2014, at the latest.
  25           Q   And just to be clear, you were not


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   1     performing the actuarial computations, you were
   2     providing information to the actuaries to help them
   3     do their analysis?
   4           A   I was a subject matter expert in the
   5     treatment of trans patients, which they needed to do
   6     the analysis of the economic impact that this would
   7     have on California insurers.
   8               So, no, I am not an actuary or accountant
   9     or any of those things, but they didn't have the
  10     technical information they needed to do their jobs,
  11     so I provided them that information.
  12           Q   Did you provide them any information
  13     about, I guess, the number of patients that would be
  14     used as part of the computation, like the percentage
  15     of the population that might require the different
  16     treatments that you were talking about?   Or were you
  17     really just providing, these are the treatments,
  18     these are the type of procedures that are associated
  19     with gender-affirming care?
  20               MR. TILLEY:     Objection.
  21     BY MS. COLES:
  22           Q   You can still answer, if you can.   If you
  23     don't understand my question, I am happy to rephrase
  24     it.
  25           A   I understand, and this was a number of


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   1     years ago, but I do recall we talked about that at
   2     least generally, because to figure out the cost or
   3     the risk of this, you need to know not just what
   4     patients need but also how many patients need the
   5     particular service or services.   And I think that's
   6     the case, that sounds right to me, but again, we're
   7     talking a lot of years ago.
   8           Q   Were you provided with, I guess, a copy of
   9     their ultimate findings, their actuarial report?
  10           A   I have that.   I don't know who sent it to
  11     me, but it's a publicly available document.
  12           Q   Were there any other subject matter
  13     experts that you are aware of that also contributed?
  14           A   I have no idea.
  15           Q   Any other health insurance companies or
  16     employers that you have consulted with relating to
  17     payment of care or insurance benefits?
  18           A   Yes.   And the way you asked that question
  19     reminded me there is another insurer.
  20               I did some work with Kaiser.
  21           Q   What is Kaiser?
  22           A   Kaiser is a big insurer in California.
  23     They are like a -- Kaiser provides insurance but
  24     there's also -- it's Kaiser Permanente Insurance,
  25     but then there's also Permanente Medical Group, so


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   1     essentially they provide both.      There is a legal
   2     separation between the providers, but if you have
   3     Kaiser, you usually go to Kaiser hospitals and see
   4     Kaiser doctors.
   5           Q     Okay.    What services did you provide for
   6     Kaiser?
   7           A     I know I did at least a couple of talks
   8     for them.    There were a couple of providers who I
   9     had conversations either via e-mail or by phone
  10     about specific questions that came up as they were
  11     establishing their program.
  12           Q     Approximately when was that?
  13           A     I would say around the same time, like
  14     2010 to 2014.
  15           Q     When you say establishing their program,
  16     you are talking about establishing their program for
  17     covering certain gender-affirming surgeries?
  18           A     Yes.    They started covering
  19     gender-affirming care generally, surgeries, mental
  20     health, medical treatment.      And they also were
  21     establishing a, I don't know the exact name of it
  22     but like center of excellence for this in the east
  23     bay, like the San Francisco Bay area basically but
  24     not in San Francisco proper.
  25           Q     So prior to that 2010-2014 time period,


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   1     Kaiser did not cover gender-affirming care?
   2           A   Not that they knew of.   There were
   3     providers at Kaiser that I know who were colleagues
   4     who provided care for their patients and nothing was
   5     objected to, so they were able to do it.   So I won't
   6     say there was no care or no surgery provided to
   7     patients, but it was not officially acceptable.
   8           Q   Any other providers, employers, entities
   9     like that, like Kaiser or the San Francisco Health
  10     Plan, that you provided consulting services for
  11     relating to the payment of health insurance benefits
  12     for transgender community?
  13           A   Yes.   And I am doing this on the fly,
  14     sorry; I keep forgetting things and remembering
  15     them.
  16           Q   That's all right.
  17           A   I worked with, in California and the
  18     University of California system, the insurance plan
  19     that is offered to students is called GSHIP,
  20     G-S-H-I-P, all capitals.   I don't know what it
  21     stands for but that's what they call it.   And GSHIP
  22     started paying or started being willing to provide
  23     surgical and medical treatments to patients because
  24     the University of California system, I think the
  25     employees sued and won, so I think the student


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   1     health insurance -- oh, that's what SHIP stands for,
   2     student health insurance program -- started doing
   3     it.
   4                  And so I worked with one of the providers
   5     at the UC Davis student health services who had been
   6     providing care for a while, and I actually sort of
   7     mentored her when she had her first patients, and
   8     sort of helped with -- I don't know if you would say
   9     the "ask" or the "explanation" to GSHIP about what
  10     is needed.
  11           Q      Approximately when was it that GSHIP
  12     started being willing to provide those surgical
  13     services?
  14           A      Around the same period, 2010 to 2014 there
  15     were a lot of changes in California.      It may have
  16     been a little earlier because it was precipitated by
  17     the employees of the UC system winning coverage.
  18     And I think that was one of the first times after
  19     the city and county of San Francisco's employee
  20     health plan, that that was won, so it may have been
  21     a little bit earlier but not by much.
  22           Q     Any other health insurance company or
  23     employer or entity like GSHIP that you had provided
  24     consulting services relating to health insurance
  25     benefits or the coverage of gender-affirming


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   1     services?
   2           A     I can't think of any other insurance
   3     companies, though I not infrequently give talks
   4     about trans care and insurance is a part of it.
   5     And, in fact, I actually did a presentation at WPATH
   6     a few conferences ago about all the changes within
   7     the California system, the California insurance
   8     system.
   9           Q     And is that a statewide, like the state --
  10     when you say the California insurance system, do you
  11     mean like from a state regulatory standpoint there
  12     were changes made?     Or are you just talking about
  13     the industry?
  14           A     Including from a state regulatory
  15     standpoint.     So after the economic impact
  16     assessments from the Department of Insurance, they
  17     decided that insurers should not be able to exclude
  18     this because of the -- or because the risk that they
  19     were taking as an insurer was so small that it was
  20     within the -- within the standard deviation of what
  21     their cost would be anyway, so you couldn't see the
  22     signal for the noise.
  23                 And so they adopted it, and then less than
  24     a year later, the California Department of Managed
  25     Healthcare adopted similar requirements that


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   1     insurers not discriminate.
   2                  It's weird, California actually has two
   3     agencies, DMHC and Department of Insurance, and they
   4     both regulate insurance but they don't regulate the
   5     same insurance.    It's just some weird historical
   6     thing in California.     And then that was used, I
   7     couldn't tell you which states, but I know at least
   8     several states have used the economic impact
   9     assessments that the Department of Insurance did as
  10     data for their decision about whether to require
  11     insurers to cover this.
  12           Q      In your second paragraph in your report,
  13     you note that gender dysphoria is a medical
  14     condition which is described in the DSM-5.
  15                  What does DSM-5 stand for?
  16           A      Diagnostic and Statistical Manual and it's
  17     psychiatric illnesses.
  18           Q      When you use the phrase medical condition
  19     there, do you make a distinction between medical
  20     conditions and psychiatric conditions, or do you
  21     consider them all to be medical conditions?
  22           A      I think medical conditions is the broad
  23     category into which psychiatry is one specialty that
  24     belongs, so is nephrology and cardiology and
  25     neurology.


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   1           Q    Are you going to provide any opinions at
   2     trial relating to origins of gender dysphoria as in
   3     whether it's biologically caused or if it's
   4     socially, psychiatrically, psychologically caused,
   5     anything like that?
   6           A    The first answer to that question is it
   7     totally depends on what you guys ask me as to
   8     whether or not I will discuss that.
   9                  The second thing, though that I will say
  10     is that it's -- the brain is an organ just like your
  11     heart is an organ, just like your kidney is an
  12     organ.    So there are physical changes in your brain
  13     that express themselves as mental illness.     And for
  14     most mental illnesses there is differing levels of
  15     evidence that those are biologically caused and
  16     that's completely logical.
  17                  If we give you a pill and that helps your
  18     mental health symptoms, then there was something
  19     physical going on that caused those mental health
  20     symptoms that taking this medication changed.
  21           Q      Okay.   You would agree that not all
  22     transgender individuals suffer from gender
  23     dysphoria?
  24           A      Yes.
  25           Q      And gender dysphoria is kind of


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   1     characterized by significant distress?
   2           A    Yes.
   3           Q    Do you have any opinions as to what -- you
   4     indicate here, "Left untreated, individuals with
   5     gender dysphoria can suffer severe depression,
   6     anxiety, poor function in employment, family, and
   7     other settings and suicidality."
   8                Do you have any opinions specifically
   9     about what the -- what percentage of patients with
  10     gender dysphoria, if left untreated, will suffer
  11     from depression, anxiety, poor function in family or
  12     suicidality?
  13           A    There are two places that I would look for
  14     data to answer that question.     The first is from the
  15     medical literature, and there are studies that
  16     indicate that patients have significant levels of
  17     depression, suicidal ideation, poor social
  18     functioning, and there is evidence that that
  19     improves, although doesn't necessarily go back to --
  20     or doesn't necessarily improve to the point that it
  21     is indistinguishable from people without mental
  22     illness.   So that's one set of data that I could
  23     speak about.
  24                The other is my personal experience,
  25     because I started treating patients at Lyon-Martin


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   1     in 2005 and, as we've discussed, up until 2010 to
   2     2014 era, the vast majority of my patients could not
   3     access surgical care.    I could provide them with
   4     medical treatment and mental health treatment and
   5     occasionally I would have a patient who was able to
   6     cobble together the funds to get surgery, but I
   7     would say over 90, probably more like 95 percent of
   8     my patients could not access surgery.
   9               And their mental health was, as a group,
  10     significantly worse than patients who now have been
  11     able to access care.    And in addition, I mean I
  12     have -- in addition to comparing them to people who
  13     start treatment now when care is available, I had a
  14     group of patients that I was seeing prior to this
  15     happening who were really suffering because they
  16     didn't have access to surgery, and then all of a
  17     sudden one day, hey, your insurance covers this, and
  18     I got to see what happened for those patients who
  19     needed treatment but weren't able to access it, so
  20     what happened with their mental health and social
  21     functioning subsequently, and it's a pretty dramatic
  22     difference.
  23           Q   Can you say what percentage of them
  24     improved and how you would measure their
  25     improvement?   For the patients that were unable to


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   1     get surgical treatment before the 2010-2014 time
   2     frame to being able to get their insurance to cover
   3     for surgical treatment and they did get surgical
   4     treatment, what percentage of that patient group saw
   5     an improvement in their functionality and how do you
   6     measure that?
   7           A   So if we are seeing at least some
   8     improvement, I would say nearly 100 percent, if not
   9     100 percent.    If we are saying dramatic improvement,
  10     I would say at least a third.
  11               There is a range of possibilities for how
  12     much any given treatment, hormones, social
  13     transition, mental healthcare, or surgical care will
  14     offer relief to patients who need that treatment.
  15     And so I saw a range of beneficial outcomes from
  16     mild to almost unbelievable.
  17               The way I would measure that is, one, we
  18     have measures of psychological function, like the
  19     PHQ-9 or GAD-7.    I also noticed patients that were
  20     in the hospital a couple of times after suicide
  21     attempts, they were just not suicidal anymore.
  22     Patients who were previously on three psychiatric
  23     medications, doing so much better, we take them off
  24     medication number 1, they are still doing okay.     We
  25     take them off 2, they are still doing -- and not


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   1     every time people can stop all their mental health
   2     medications, but it made treating their other mental
   3     health conditions so much easier.
   4           Q   What percentage of your patients that
   5     undergo some type of genital surgery experience
   6     complications?
   7           A   Minor complications that I can handle in
   8     the office?     Maybe a third.
   9               Complications that require either repeat
  10     surgery or going back to the OR in the
  11     post-operative period, a third or less.
  12               And then complications that may require
  13     treatment that I am not capable of doing at my
  14     clinic because I don't have the right instruments or
  15     whatever but that don't necessarily need resurgery,
  16     like a third.
  17               Actually, I want to clarify one thing on
  18     that last question.     When I am talking about a
  19     third, a third, and a third, that's of people who
  20     have complications.     There's probably a good
  21     40 percent that don't have anything at least that I
  22     know about that they have complications on.
  23           Q   All right.
  24           A   So maybe 40/20/20, would be the right
  25     ratio.


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   1           Q      Okay.   Makes sense.
   2                  You indicated in this next paragraph that
   3     starts with "gender-affirming surgeries that" -- I
   4     am jumping down -- "practicing physicians such as
   5     myself who treat patients with gender dysphoria in
   6     the United States generally agree that the WPATH
   7     Standards of Care are the most authoritative
   8     framework for treating gender dysphoria.     These
   9     Standards of Care represent a consensus of the
  10     relevant medical community regarding the appropriate
  11     treatment for gender dysphoria.      Physicians like
  12     myself and other healthcare providers trust, rely
  13     on, and utilize these standards of care for our
  14     patients."
  15                  Is it your opinion that the WPATH
  16     guidelines -- let me ask this.      Let me start over.
  17                  How do you define standard of care when we
  18     use that phrase?
  19           A      So standard of care generally, not
  20     necessarily with regards to WPATH, is the accepted
  21     treatments that a competent provider would provide.
  22     So, for example, just to take something simple, the
  23     standard of care if you have appendicitis is to have
  24     surgery to remove your appendix.      And that happens
  25     in 99 percent of cases that get diagnosed in the


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   1     U.S.
   2                 With regard specifically to the Standards
   3     of Care, they are not the only thing that most
   4     providers would use, but they are -- they are the
   5     most authoritative at providing a framework, not
   6     necessarily saying, oh, you should start patients on
   7     this many milligrams of testosterone or estrogen and
   8     you should check labs with this frequency; there are
   9     a lot of guidelines that do that.         But WPATH in
  10     particular talks about assessment of patients who is
  11     appropriate for each of the different types of
  12     treatments that are available:      Psychological,
  13     medical, hormonal, surgical.
  14            Q     Is it your opinion that the WPATH
  15     guidelines set the standard of care for the
  16     treatment of gender dysphoria or they are useful as
  17     a tool for establishing a framework and there are
  18     other, I guess -- there are other materials that
  19     physicians also look at in addition to the WPATH
  20     framework?
  21            A     Can you state that again?
  22            Q     Yes.   There was two questions combined
  23     into one.     I will try and separate them.
  24                  One, is it your opinion that the WPATH
  25     guidelines set the standard of care for physicians


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   1     providing treatment for gender dysphoria?
   2           A     I think in the United States that they are
   3     the most common and most accepted framework for
   4     treating patients.    I know that's not an entirely
   5     accurate answer to your question, but the problem is
   6     not the WPATH Standards of Care but the concept of
   7     the standard of care is not just a nationwide, in
   8     the U.S., this is what is expected, but the standard
   9     of care, the local or -- sorry, the standard of care
  10     can change both locally but also by resources.
  11                 So what might be the standard of care for
  12     really any condition but particularly talking about
  13     gender dysphoria, in a local practice standard in
  14     suburban America might be different from what the
  15     standard of care is -- not WPATH Standards of Care,
  16     but the standard of care for treatment of other
  17     diagnoses, including gender dysphoria, might be
  18     different in an impoverished inner city setting
  19     where many patients are uninsured or underinsured.
  20           Q     Do you know whether or not there is a
  21     consensus among healthcare providers in, let's say
  22     the state of Florida, is that WPATH is what they
  23     generally look to when providing care to transgender
  24     patients?
  25           A     I interacted in the past with a few


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   1     surgeons in Florida and I don't see them not
   2     following the WPATH Standards of Care; but I don't
   3     practice in Florida, so I couldn't tell you in that
   4     particular local practice environment what the
   5     standard of care would be.   And even within Florida,
   6     if you are a rural provider in the Panhandle, the
   7     standard of care that you provide, it's not going to
   8     be hugely different, but may be subtly different
   9     when compared with a provider who is working in
  10     Miami.
  11           Q   Sure.   That makes sense.    You mentioned
  12     that WPATH Standards of Care were one of several
  13     guidelines that you might look to in the treatment
  14     of gender dysphoria.   What else would you look to in
  15     the treatment of gender dysphoria?
  16           A   Predominantly medical protocols.    There
  17     are a number of those and they are not -- they don't
  18     necessarily say -- they don't necessarily cover what
  19     WPATH says in the Standards of Care, in that instead
  20     of answering the question what does this patient
  21     need to be treated, what does this patient need in
  22     preparation for surgery, post-operatively, what sort
  23     of framework of care they need, they may be
  24     answering the question, okay, so this patient is
  25     going to be treated with hormones, what hormone do


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   1     you give, what are the side effects, what's the
   2     range of dosing, how frequently you should check
   3     levels of the hormone or other labs.
   4           Q      Are those protocols -- for example, for
   5     the hormonal therapies, who or what entity would
   6     promulgate the protocols that you might look to for
   7     hormone therapy?
   8           A      I could name a few.   So the University of
   9     California in San Francisco has a transgender center
  10     of excellence and they have a very extensive
  11     protocol.     There is a protocol that's used at --
  12     again, this is embarrassing, I am so bad with names
  13     of things.     There are two prominent LGBT
  14     organizations that provide healthcare in New York
  15     and Boston.     Fenway is the one in Boston and they
  16     provide treatment protocols, and then in New York --
  17     this is so embarrassing, my previous boss at
  18     Lyon-Martin actually worked there before she came to
  19     us.   Oh, Callen-Lorde.
  20           Q      All right.   That's in New York?
  21           A      Yes.   And also the TransLine, we have
  22     probably the shortest protocol because we want to
  23     provide just information about hormones, this is
  24     just about hormones, not about anything else.     And
  25     so we try to keep it as small as possible.      I think


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   1     it's up to seven or eight pages now in really tiny
   2     type font.
   3           Q      TransLine promulgates its own set of
   4     protocols to provide to clinicians whenever they
   5     call in seeking assistance?
   6           A      We have that on our website.   It's
   7     available as a resource.     Often I may refer people
   8     to say, oh, this is great, your answer was on our
   9     protocol for medical treatment.      Here's a link to it
  10     and also here's your answer.
  11                  There's a lot of questions, though, that
  12     are not covered in that; so complex patient
  13     situations that may not be covered in that and
  14     that's more what we are there for.
  15                  MS. COLES:   Can we take a quick comfort
  16           break?    Let's do five minutes.
  17                  (A recess took place from    1:31 p.m. to
  18           1:39 p.m.)
  19     BY MS. COLES:
  20           Q      Tell me about your membership in WPATH.
  21     How long have you been a member?
  22           A      Between -- well, probably around 15 years.
  23           Q      As a member of WPATH, what do you do?
  24           A      There are national conferences, but also
  25     regional conferences.      So there's a subset of WPATH


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   1     that's USPATH, and then there is EPATH which I think
   2     is the European subgroup; so conferences, presenting
   3     papers; when there is a need for a statement or
   4     writing an opinion on something.     There's also
   5     interaction with colleagues in WPATH but external to
   6     meetings.    For example, the providers who are -- who
   7     staff TransLine are almost all WPATH members.
   8           Q     Did you have any involvement in the
   9     promulgation of any version of the Standards of
  10     Care?
  11           A     I was asked, I believe it's for the last
  12     Standards of Care -- to participate in a day-long
  13     meeting in which or for which some -- a small subset
  14     of WPATH providers were asked to attend.    It was
  15     sort of like a pre-meeting, I think it was in Oslo,
  16     I am pretty sure, maybe, Oslo, yeah, it was a
  17     pre-meeting where we were sort of tasked with
  18     writing a short paper about a specific issue within
  19     WPATH.
  20           Q     What issue was that?
  21           A     The group that I was in was about the
  22     treatment of children.
  23           Q     How did you come to be in that group?
  24           A     I was invited by the group leader who was
  25     selected by WPATH.


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   1           Q   And do you have any experience treating
   2     children with gender dysphoria?
   3           A   I have experience with adolescents over
   4     the age of 18, like I spoke about, and then I also
   5     have patients of mine who are now adults but who
   6     were treated as children.
   7           Q   Other than in the emergency department, do
   8     you see patients who don't necessarily have gender
   9     dysphoria but who are under 18 for treatment?
  10           A   No, just in the emergency department.
  11           Q   Have you ever provided treatment to
  12     individuals under 18 years of age other than in the
  13     emergency department?
  14           A   A couple of times, essentially, I guess
  15     you could say private practice for like the children
  16     of friends sort of thing.
  17           Q   I guess, other than on a friends and
  18     family kind of basis, you have never provided
  19     treatment for individuals under 18 outside of an
  20     emergency department context?
  21           A   As long as you said friends, colleagues,
  22     and family.     For example, there was one kid who
  23     needed hormone-blocker implant that I helped out and
  24     assessed him.
  25           Q   How many would you say -- from a friends,


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   1     family, and colleagues standpoint, how many
   2     individuals under 18 do you think you have provided
   3     care for outside of the emergency department?
   4           A      Five or less, not many.
   5           Q      The paper that you all wrote at the
   6     conference on the treatment of children, did that
   7     get published by WPATH?
   8           A      Yes, it was -- well, it was published in
   9     IJT, which is the in-house journal for WPATH.      I
  10     think I provided that to you.
  11           Q      Okay.
  12           A      That's the lead author was Harrelson.
  13           Q      Okay.   How does an individual become a
  14     member of WPATH?
  15           A      There's no test or board certification.
  16     Actually WPATH does have clinical certification but
  17     that's certainly not a requirement to join.
  18           Q      What does that involve, the WPATH clinical
  19     certification?
  20           A      It's basically -- and I am pretty sure
  21     about this, don't 100 percent hold me to the
  22     details, but there is a basic class that's for
  23     everybody, medical and mental health, surgical
  24     providers.     And there are -- there is an advanced
  25     class that is more germane to one's particular area.


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   1     And then subsequent to that or I guess during that,
   2     too, those who wanted can have a mentor with
   3     experience to sort of help walk them through the
   4     initial phases of learning how to treat patients.
   5            Q   The GEI certified practitioner that you
   6     identified in your report, is that what you are
   7     talking about?
   8            A   Yes.
   9            Q   And what level -- what does the GEI stand
  10     for?
  11            A   Global Education Initiative, I think.
  12            Q   What level of the certification process as
  13     you just described would the GEI certified
  14     practitioner be?
  15            A   I see what you are asking.   If you start
  16     from scratch, you do the basic class.    You then
  17     subsequently go on to your particular area, the more
  18     advanced class.    And then you kind of demonstrate
  19     through mentoring that you are adequate to provide
  20     care, and then you are certain to become certified.
  21            Q   What is your specialty?
  22            A   So I was actually grandfathered in because
  23     there was a lot of very experienced providers, so
  24     there was a test that we could take.    And if you
  25     passed the test, you were -- and it wasn't just a


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   1     test.       It had to be a certain number of years as a
   2     member of WPATH, a certain number of years treating
   3     trans patients, and also -- I think there may have
   4     also been an element of we know you or we don't know
   5     you.      So a portion of providers who met those
   6     criteria were offered the chance to do that.        So I
   7     did that.
   8                    Although I actually did take the basic
   9     class because it was offered at the first USPATH
  10     meeting as a freebie, you could just go if you want.
  11     And I just wanted to go and see what they were
  12     teaching and kind of have an idea about the
  13     information presented.        So I actually did do that
  14     one.
  15             Q      Makes sense.   Are there members of WPATH
  16     who are not healthcare providers?
  17             A      Yes.
  18             Q      What type of individuals who are not
  19     healthcare providers are also members of WPATH?
  20             A      There are definitely a few lawyers, I
  21     think.       That I know for certain.   And I am just
  22     going based on people that I know that I see at
  23     conferences and talk with and you see them every
  24     couple of years at the conference or interact,
  25     essentially collegially.        That's the only


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   1     non-providers that I can think of.      But that's not,
   2     by any stretch of the imagination, a definitive
   3     answer.   That's just my experience in WPATH.
   4           Q   Are there other lay individuals that are
   5     members of WPATH?
   6           A   I wouldn't be surprised but, again, I
   7     can't answer that authoritatively.
   8           Q   All right.    I am going ask you a few
   9     questions about some of your publications.     The
  10     articles that you provided, are those because they
  11     relate to your opinions?
  12           A   Those were ones that I wrote and so I was
  13     answering that question.    There was one that -- so
  14     there was a conference in Pittsburgh at -- I don't
  15     know, University of Pittsburgh?    A university in
  16     Pittsburgh, I don't know which one.      It was many
  17     years ago -- that was providers, academics, and we
  18     created a white paper that I do not have a copy of.
  19     But the leader of that conference wrote a paper that
  20     was sort of a summary of what we sort of discussed
  21     or included in the white paper, and so that's the
  22     Lombardi publication.
  23                I am not an author to that because she
  24     basically just did that as a summary herself.      But I
  25     was a contributor to the bigger document from which


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   1     she pulled that, I guess, so I couldn't give you the
   2     white paper but I gave you the closest thing to it.
   3           Q    That makes sense.     I am going to ask you a
   4     few questions about one of these articles and I am
   5     going to pull it up.     Let me ask you about this.
   6                MS. COLES:    We'll mark your rebuttal
   7           report as Exhibit 1 and we'll mark this article
   8           as Exhibit 2.    This is the "Transgender Health:
   9           A Review and Guidance for Future Research."
  10                (Exhibit 1 was marked for identification.)
  11                (Exhibit 2 was marked for identification.)
  12     BY MS. COLES:
  13           Q    Proceedings from the Summer Institute at
  14     the Center for Research on Health and Sexual
  15     Orientation, University of Pittsburgh.
  16                Is this that article you were referencing?
  17           A    Yes, I believe that's Dr. Lombardi's
  18     article.   I am actually trying to bring it up so I
  19     can scroll through if I need to as well.     So we are
  20     talking about published in the International Journal
  21     of Transgenderism by Emilia Lombardi, correct?
  22           Q    Yes.   Are you familiar with the content of
  23     this article, generally speaking?
  24           A    I haven't read it in a long time, but I
  25     imagine nothing in there would surprise me.


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   1           Q     I am going to ask you, on page 202, I am
   2     just going to jump around and ask you a few things
   3     that I had questions on when I was reading it.
   4           A     I am confused about the page numbering
   5     because I have that it starts at 211.
   6           Q     It does start at 211, I am just jumping to
   7     page 212.
   8           A     Oh, I thought you said 202.
   9           Q     Oh, I'm sorry, I may have said 202 but I
  10     meant to say 212.    212.   Under the historical
  11     background section, so this last paragraph at the
  12     bottom in the historical background section says
  13     that "in 1980, transsexualism was included within
  14     the Diagnostic and Statistical Manual of Mental
  15     Disorders, third edition, while inclusion in the DSM
  16     is now a source of contention within the
  17     trans/gender-variant communities, at the time this
  18     was seen as positive progress because it legitimized
  19     the diagnosis."
  20                 The reference here to it now being a
  21     source of contention, what is that talking about?
  22           A     In DSM-IV, not the current DSM but in
  23     DSM-IV, the diagnosis was essentially -- it was
  24     gender identity disorder and the criteria were maybe
  25     slightly different, but the issue is that trans and


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   1     gender-variant people, and I think most providers of
   2     care to them don't think the identity is the
   3     problem, it's the dysphoria that's the problem.     And
   4     that was actually one of the reasons that in DSM-5,
   5     the diagnosis was changed to gender dysphoria
   6     because having the identity isn't a problem.    The
   7     problem is where that identity conflicts with your
   8     physical attributes and the way you are treated and
   9     how you interact with people in society.
  10                So I mean, it sounds dumb to say that it
  11     was in the name, but I think changing it to the
  12     focus of the pathology is gender dysphoria helped.
  13                And in addition, in DSM-5, they recognized
  14     that there are some patients who once they are
  15     treated appropriately, whatever is appropriate for
  16     that individual patient, their gender dysphoria may
  17     go away.   Like I talked about before now, it could
  18     certainly return if you put them in an environment
  19     where they did not have the ability to live their, I
  20     guess authentic lives.
  21                The most commonplace that I have seen this
  22     is in people who enter the criminal justice system
  23     and aren't allowed treatment or aren't allowed to
  24     present as their gender, but as long as patients
  25     aren't sort of forced to take steps backwards, they


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   1     don't really have dysphoria anymore, and there's not
   2     really a diagnosis that they currently need,
   3     although -- and I can't tell you the exact wording
   4     but I think they basically said something like that,
   5     like this, being in complete remission is dependent
   6     on the patient getting continued care, so continued
   7     care is still medically necessary.
   8           Q   Do you have any opinions about what causes
   9     some individuals, some transgender individuals to
  10     experience dysphoria and others not to?
  11           A   There is a difference between a diagnosis
  12     and an identity.   Transgender is how you
  13     self-describe to the world, and that often, and I
  14     would say in the significant majority of cases
  15     before treatment, that is associated with gender
  16     dysphoria because people aren't treated the way they
  17     want to be treated in society and they are forced to
  18     adhere to, you know, behavior patterns, I guess you
  19     would say, that are not appropriate for them.
  20               So often there is a conflict in most
  21     cases, but there are some people who identify as
  22     transgender and often there are more people who
  23     identify as sort of gender queer who may not need
  24     any treatment and are sort of okay with that.
  25     That's the exception, but that does exist.   So it's


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   1     a difference between self-identifying or us saying
   2     you have this diagnosis.
   3           Q   And I guess the individuals who obtain the
   4     diagnosis are the individuals that have significant
   5     distress associated with the incongruence between
   6     natal sex and the identity?
   7           A   I would say sex is assigned at birth but
   8     essentially that's correct.
   9           Q   Other than maybe self-perception about
  10     what an individual wants to be defined as, what's
  11     the difference between transgender or gender queer
  12     or gender-nonconforming?
  13           A   So firstly, transgender and gender queer
  14     are identities people have.    Gender-nonconforming
  15     may be an identity someone has, but it also is just
  16     a way to describe people.    Right?    So if somebody
  17     interacts with the world in ways that are typically
  18     ascribed to the other gender, that person can be
  19     said to be gender-nonconforming.
  20               So a man who's wearing a dress is in most
  21     situations gender-nonconforming.      That doesn't mean
  22     that that man identifies as a woman or identifies as
  23     gender queer or even identifies as
  24     gender-nonconforming.   That just means he puts on a
  25     dress and makeup.   Right?


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   1                 So you can sort of -- sort of objectively
   2     assess that, but there are some people who are
   3     gender-nonconforming who you wouldn't know, or may
   4     identify as that.
   5                 There are a lot of sort of subcategories
   6     that people describe themselves that are under the
   7     bigger umbrella of transgender and gender queer is
   8     one of those.    And there are typically ways that
   9     people describe their identity as being not entirely
  10     masculine, not entirely feminine, but maybe
  11     androgenous or some variant of that.      But that's an
  12     identity rather than talking about behaviors.
  13           Q     I am going to move to page 214.   So there
  14     is, just by way of kind of a preface, on 213 there
  15     is a discussion of Paul McHugh and his work and
  16     research and how it led to, I think -- well, there
  17     was Paul McHugh and then in '79 there is a study by
  18     Meyer and Reter -- am I mispronouncing that?     And
  19     that this ultimately led to the treatment for
  20     transsexual patients were moved from academic
  21     medicine and healthcare reimbursement rapidly
  22     declined.
  23                 Is that your understanding kind of the
  24     timeline, by the '80s that the treatment for gender,
  25     whatever they were calling it at the time, was kind


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   1     of being foreclosed and that healthcare companies
   2     were not reimbursing for it?
   3           A      I don't think it was a particular year.
   4     It was certainly the case that after Meyer published
   5     the study in 1979, there was a significant cratering
   6     of not just insurance reimbursement but providers
   7     for trans care.    So there were trans clinics and
   8     tertiary care centers around the United States and
   9     every single one of them closed except for the
  10     program for human sexually at the University of
  11     Minnesota.     There were at least ten programs that
  12     closed.   They didn't all close in 1980, but they
  13     closed fairly soon after that.
  14                  And I think the insurance decisions about
  15     not covering this care had several things pushing
  16     it.   One was Meyer's study, another was that, well,
  17     this is no longer provided at most tertiary care
  18     centers and insurers look at that.        They look at
  19     care that providers are giving.
  20                  So when all these programs closed, the
  21     insurers took that as an opportunity and also, too,
  22     this was the time when health maintenance
  23     organizations were really starting to blossom in the
  24     United States, and the reason HMOs were cheaper and
  25     became so successful was because they got very good


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   1     at not paying for care; so anything that they could
   2     justify not providing care for was money savings,
   3     and then they could offer cheaper plans than
   4     traditional fee-for-service insurance.
   5                 So I think it was a sort of a coalescence
   6     of a number of different societal things that
   7     happened.
   8           Q     You indicated earlier that around 2010 to
   9     2014 there were a lot of changes in California in
  10     terms of the availability of insurance coverage for
  11     gender-affirming care.
  12                 Prior to that time period, let's say
  13     2008-ish time period, what percentage of your
  14     patients, your primary care patients, would you say
  15     had health insurance benefits that covered
  16     gender-affirming care?
  17           A     There were a number of my patients who
  18     their insurance covered their visits to me and some,
  19     if not all of their labs, but those were for other
  20     reasons too.
  21                 So for example, if a patient is diabetic,
  22     we should check their -- these three tests every so
  23     often, and while it happens, that two of those tests
  24     are things that I would want to follow up on
  25     patients who were trans.    If your medical visit was


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   1     to talk about your diabetes and talk about your
   2     hormone replacement therapy, most insurers and,
   3     sadly, that's accurate when I say most insurers
   4     because it wasn't all, but most insurers would say,
   5     okay, well, we are paying for this visit because
   6     it's diabetes.   But there were times when insurers
   7     would say, well, look, the fourth diagnosis you
   8     addressed in this visit was gender dysphoria and we
   9     don't pay for that, so we are not paying for the
  10     whole thing.
  11               I had a colleague who once had his
  12     insurance rejected for treatment of bronchitis
  13     because it was bronchitis in a transgender person
  14     and they didn't treat transgender-related issues.
  15     It was really bad, but oftentimes you could at least
  16     take some of the burden off of the patient.
  17           Q   In that time period, shortly before all
  18     the big changes in California relating to the
  19     coverage of gender-affirming care around 2008-ish,
  20     what percentage of your patients who had health
  21     insurance would pay for gender-affirming surgeries?
  22           A   Unless there was another reason for that
  23     surgery, like the example I gave earlier, another
  24     indication for a hysterectomy, I would say all of
  25     them.


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                                                           Page 66
   1           Q      All of them did not pay for it?
   2           A      No, I would say that other than surgeries
   3     which were otherwise indicated for nontrans-related
   4     issues, patients only got surgery when they paid for
   5     it.
   6           Q      If you were seeking a particular surgical
   7     intervention purely for the treatment of gender
   8     dysphoria, it would not be covered by health
   9     insurance?
  10           A      No, I can't remember even one case where
  11     that happened.
  12           Q      This is just me trying to make sure the
  13     record is clear.    Are you agreeing with me or are
  14     you disagreeing with me?
  15           A      I agree that prior to 2008, unless there
  16     was another indication and the only indication was
  17     to treat gender dysphoria, insurance never paid for
  18     care, for surgical care.
  19           Q      And it sounds like that changed in
  20     California, at least in that 2010 to 2014 time
  21     period, at least in part because of regulatory
  22     changes that were made by the managed care
  23     department and whatever body regulates insurance?
  24           A      There were other reasons that this
  25     changed.     And I should point out that the first time


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   1     that trans people, to my knowledge, as a class, not
   2     through an individual suit for treatment, were able
   3     to get appropriate coverage for all aspects of care,
   4     I think was 2004, the city and county of San
   5     Francisco started doing that for their employees.
   6     But I never, to my knowledge, I don't think I
   7     treated any of them.
   8                  I think there was in the first three years
   9     of the program, I think they had like -- it was less
  10     than 20 people who actually utilized the service,
  11     and so one of them was my patient, but that was the
  12     exception to the rule.
  13                  And other things happened, too.   I think
  14     in 2006 or '07 maybe, the University of California
  15     employees won coverage for care and there were other
  16     sprinklings here and there of insurers that started
  17     to cover things.    But that was either you sued and
  18     won or out of the goodness of their heart, like
  19     maybe a big tech company, covers it just for their
  20     employees.
  21           Q      Makes sense.    On page 215 --
  22                  MR. TILLEY:    It's not showing on the
  23           screen.
  24                  THE WITNESS:    I have the .pdf on my
  25           computer if you tell me the paragraph.


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   1               MS. COLES:     Let me do it.
   2     BY MS. COLES:
   3           Q   I was asking under the paragraph that
   4     begins the last paragraph on the top of 214, on to
   5     215, talking about "because of the formation of
   6     trans/gender-variant communities and the development
   7     of leadership within those communities, that
   8     perhaps" --
   9           A   Wait, wait.     All right.      Now I am there.
  10           Q   "Because of the formation of
  11     trans/gender-variant communities and the development
  12     of leadership within those communities that perhaps
  13     in response to the deterioration of access to the
  14     care and the marginalization that came with it,
  15     trans/gender-variant people began to organize in
  16     order to create political and social change.        This
  17     greater political and social activism has led to
  18     further changes in how trans/gender-variant people
  19     interact with the medical system."
  20               Do you agree with that general
  21     proposition?
  22           A   It sort of depends on whether we are using
  23     this broadly or apply it to a specific instance.
  24     It's talking about how people interact with the
  25     medical system.    There's 5,000 different aspects to


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   1     that, but I think generally for some aspects of how
   2     people interact with the medical system, that that's
   3     correct.
   4           Q    The next sentence goes on to say that
   5     "trans/gender-variant professionals began to develop
   6     expertise in healthcare law and social change and
   7     joined the WPATH and many LGBT community-based
   8     health organizations and this led in 2007 to Stephen
   9     Whittle became the first trans/gender-variant person
  10     who was elected president of WPATH."
  11                Do you agree with the last two sentences
  12     as well?
  13           A    So, yes, trans people started going to
  14     healthcare providers in more numbers.       I am not sure
  15     about law school, but I imagine so.       And it
  16     certainly was the case that later on in WPATH's
  17     history there were more trans professionals who
  18     joined WPATH.    And it's also the case that the same
  19     held true for community-based organizations, like I
  20     work for Lyon-Martin Health Services, as an example,
  21     and yes, Stephen Whittle became the first person who
  22     was either trans or gender-variant who was elected
  23     president of WPATH.
  24           Q    Were there changes under Whittle's
  25     leadership that were significant to, I guess, the


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   1     development of additional WPATH Standards of Care or
   2     changes in the WPATH Standards of Care, in your
   3     opinion?
   4           A     I honestly can't remember the year that
   5     the last standards of care came out.       There
   6     absolutely is going to be change in any organization
   7     in any year with any leadership.      Stephen is
   8     actually a pretty conservative guy and so he's not
   9     the sort to make huge changes.     That's just from
  10     knowing him.
  11                 Did changes happen?   I am sure absolutely
  12     things changed in 2017 to 20 -- or sorry, 2007 to
  13     2008 or '09.
  14                 Was that more or less because of Stephen?
  15     I am not sure.    But I do, my kind of personal
  16     opinion of him is he is a pretty conservative guy.
  17           Q     And it sounds like Whittle was the
  18     president, sounds like you were saying from 2007 to
  19     2009-ish?
  20           A     I honestly am not sure.      I think the
  21     presidents serve two-year terms, but they might be
  22     one year but I think they are more than that.          I am
  23     not -- never been president, so couldn't tell you
  24     for certain.
  25           Q     I believe this article was published in


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   1     '11.       Let me go back and see.   Sorry.   Yeah.   2011.
   2     there is some discussion about research and then it
   3     says, at the bottom --
   4            A      Are we still on 215?
   5            Q      Yes.     We are on 215 now.   Wait.   Are we on
   6     215?       Yes, we are still on 215.   I wasn't there yet,
   7     but we are on 215.         At the bottom of 215, there's a
   8     discussion about some research and then it says,
   9     last sentence of the paragraph says, "However,
  10     research on transgender/gender-variant health is
  11     still in its infancy."
  12                    Do you agree that that was the case in
  13     2011?
  14            A       Where is this now?
  15            Q       Sorry.    The bottom of the first column on
  16     page 215.       Okay.
  17            A       Okay.    Oh, I am sorry, I was reading the
  18     paragraph after.         Can you give me one more second?
  19            Q       You are good.   Take your time.
  20            A       (Examining document.)
  21                    So what I would say about that now is that
  22     in the 15 years or so since this was written -- or
  23     no, sorry, 10 years or so since this was written and
  24     since we had that conference in Pittsburgh, there's
  25     been more research about trans care in the past


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   1     10 years than the past 30 before that.   And the
   2     reasons for that are extremely complex which relate
   3     to funding and social acceptance and who is
   4     available to do research, who is available to be a
   5     research subject.   And I think in the past 10 years,
   6     those have been less of a hurdle to doing research
   7     and so more research is being done.
   8           Q   It sounds like in the years following, a
   9     lot of research has been done.   But would you agree
  10     that in 2011, that the research on transgender or
  11     gender-variant health was still in its infancy?
  12           A   The weird problem with infancy is that if
  13     you look at the trans research, it kind of starts
  14     really in the 1970s.   There were certainly things
  15     published before that, but it was in the 1970s that
  16     we started having a greater proportion, and it
  17     wasn't just case reports or expert opinions.    And so
  18     something that's been going since the 1970s, 40
  19     years later calling it infancy is a little
  20     problematic just because -- I think of that as being
  21     a temporal thing, too.
  22               I would say that it was the case that at
  23     that time, we had research and the research that we
  24     had said this is beneficial but because there
  25     weren't big piles of it, we were less confident in


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   1     that answer.    But now we are more confident because
   2     we have followed people out, what are the benefits,
   3     what are the risks, what are the adverse effects
   4     that happen.    I just think we have more knowledge of
   5     that.
   6               Infancy just seems really weird that your
   7     infancy was 40 years long, and now we are more
   8     mature in the last 10 years.     It was absolutely the
   9     case the research was much less sturdy then.
  10           Q   In the conclusion -- the conclusion is
  11     found on page 224.
  12           A   I am there.
  13           Q   There is some discussion about what the
  14     institute was able to bring together.    And then in
  15     the last complete sentence on this page in the
  16     second column it says, it starts with, "Studies
  17     examining."    You see that?
  18           A   Uh-huh.
  19           Q   "Studies examining gender transition and
  20     hormone-related outcomes are especially needed since
  21     much of what we know remains anecdotal."
  22               Would you agree that in 2011 much of what
  23     was known about gender transition and
  24     hormone-related outcomes was anecdotal?
  25           A   Thinking back to that time, sort of if you


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   1     asked me to answer that question in 2011, I would
   2     say that of the research that has been published,
   3     the majority is not anecdotal.      They are not case
   4     reports.    So the published research, no.
   5                 If you are talking about -- there is --
   6     how do I say this?     There is a certain amount of
   7     expertise that clinicians get from practicing this
   8     care.     And so in 2011, I had read most, if not all,
   9     of the trans literature and I knew what that said,
  10     but I also knew the patients were coming to me and
  11     knew what problems they presented with and had
  12     experience with kind of understanding in my
  13     political experience what the risks, benefits, and
  14     alternatives were, how beneficial at least hormone
  15     and mental health treatment and social transition
  16     were.     At that point there wasn't much in the way of
  17     surgical availability.     So I used both of those
  18     things to inform my care of patients, I guess is the
  19     best way to say it.
  20           Q     Would you agree that in terms of research
  21     and data, your clinical experiences would be
  22     considered anecdotal?
  23           A     There is a joke that the plural of
  24     anecdote is not data, and if you are talking about
  25     publishing something in a journal, then using one


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   1     case report -- and that happens -- but the quality
   2     of that evidence, that one case report, is not very
   3     high.
   4               Now, it might make clinicians to be on the
   5     look out for that; like if, for example, with the
   6     coronavirus vaccine, after we started giving it to
   7     people, a few people had anaphylaxis, and we said,
   8     whoa, you know, we don't know the percentage of
   9     people that are going to get anaphylaxis but we know
  10     some are, so we are going to make people wait after
  11     their vaccine for 15 or 30 minutes so if they have
  12     that, we can treat that.   Right?   So you can make
  13     clinical decisions based on single or -- multiple or
  14     single patient experiences.
  15               That's different than clinical acumen
  16     which is, I think, what you develop after treating
  17     people with a given diagnosis in a given setting,
  18     once you have experience with that.    Right?   And so
  19     I don't think clinical acumen, clinical capability
  20     is anecdotal, but I think if you are talking about
  21     individual patients or even a group of individual
  22     patients, like two or three that had this adverse
  23     effect, it's not great quality evidence.
  24           Q   From a peer-reviewed research standpoint,
  25     clinical experience is -- I mean, writing about what


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   1     happened to some of my patients is not
   2     methodologically sound research in terms of research
   3     studies, would you agree?
   4           A      It depends on how you do it, the methods
   5     that you use to determine the methodological
   6     quality.
   7           Q      Okay.   So you disagree with this -- you
   8     disagree with this statement -- as of 2011, you
   9     disagree with the statement that studies examining
  10     gender transition and hormone-related outcomes are
  11     especially needed since much of what we know remains
  12     anecdotal?
  13           A      I agree that we needed a lot more studies
  14     then.     With any clinical condition, the more studies
  15     you have, the more data you have, the more certain
  16     that the treatment you are providing has benefits
  17     that outweigh the risks.
  18                  And so it is absolutely the case that some
  19     fields need that more than others, and at the time
  20     that was the case for treating gender dysphoria.         If
  21     you look at the published research, I think most of
  22     the studies aren't anecdotal studies, or they are
  23     not anecdotal case presentations.         I mean, there are
  24     some, but I don't think that was the lion's share of
  25     the studies available at that time in the


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   1     peer-reviewed medical literature.
   2           Q   The next sentence says, "We also need to
   3     know more about the long-term health effects of
   4     transition-related care and whether
   5     trans/gender-variant people have the same risk for
   6     heart disease, cancer, depression, and suicide
   7     before and after transition."
   8               Do you agree with that, as of 2011?
   9           A   I would agree with that for a lot of
  10     things including gender dysphoria in 2011 and now.
  11     You can -- there is no clinical condition for which
  12     there is too much evidence base.      There are some
  13     that are really, really good; there are some that
  14     are in the middle; there are some that are bad, not
  15     as high quality or high quantity.         But any condition
  16     can use more research.
  17           Q   The next sentence says, "Most of all, the
  18     methodologies and theories of health research need
  19     to be adopted to trans/gender-variant populations."
  20               Do you agree that?
  21           A   I think some of the technical details of
  22     that need to.    For example, up until recently we
  23     really didn't know how on surveys the best way to
  24     essentially find trans people in a dataset because
  25     if you gave the gender options -- male, female,


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   1     other, fill in the blank, transgender, blah, blah,
   2     blah -- there are some trans people who would check
   3     male or female because they are like that's what I
   4     am.   I don't identify as a trans man, I don't
   5     identify as any of those other things.     And so you
   6     are missing a certain proportion of the people that
   7     you want to catch with your research.
   8                  And so, I don't know, probably five years
   9     ago, it sort of coalesced that there is something
  10     called the two-step question which is, how do you
  11     currently identify, male, female, fill in the blank,
  12     trans, whatever you want to ask.      And then what sex
  13     were you assigned at birth.
  14                  And so someone who is a trans woman who
  15     does not identify as an F, identifies just as a
  16     woman, she would check woman.      And then it says what
  17     sex were you assigned at birth, presumably she would
  18     check male or possibly intersex.      But like some
  19     technical aspects of that that we just have gotten
  20     better at.
  21           Q      Makes sense.   The next sentence says,
  22     "Currently there is a dearth of research on
  23     trans/gender-variant people due to the invisibility
  24     and challenges in conducting research with these
  25     populations."


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   1                 Do you agree with that, as of 2011?
   2           A     My answer is different if we are talking
   3     about the United States versus Europe.    In Europe,
   4     largely because their centers didn't close after the
   5     Hopkins paper in 1979.    They continued treating
   6     trans patients and said that's not a very good
   7     study.    So they have the best research sets.    They
   8     have research sets going back to the '70s where they
   9     followed these people.    And also in many European
  10     countries they have single payer and they've created
  11     great records on everybody that you can do research
  12     on.
  13                And in those countries, the ability to get
  14     funding for trans-specific research was not as
  15     limited as it was in the United States.   And so it
  16     was much less of an issue in Europe at the time than
  17     in the United States where trans people honestly,
  18     and many of my patients said this, they tried to
  19     hide from their insurance company that they were
  20     trans and that's because they needed -- for example,
  21     a trans man, which is more expensive, if your
  22     insurance knows you as an F, then they will pay for
  23     your pap smear and any gynecological issues you
  24     have, but they won't pay for your testosterone or
  25     your testosterone labs, which is going to be pricey


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   1     for you.     So patients are going to make those
   2     decisions.
   3                  It's really hard to do research on a
   4     patient population that is holding their cards very
   5     close to their chest for very legitimate reasons at
   6     the time and, in addition, in the U.S., there is --
   7     it was almost a joke in the research community, if
   8     you wanted your request for funding for your project
   9     to get rejected, all you had to do was put the
  10     phrase transgender in there once, and you would
  11     never get money.      So there was little, if any, money
  12     for trans-related research that didn't revolve
  13     around HIV and substance abuse.
  14           Q      So it sounds like you would agree with
  15     that sentence as it relates to the United States,
  16     populations in the United States more so than in
  17     Europe or any other parts of the world?
  18           A      That's more accurate for the United States
  19     than it is for Europe.
  20           Q      Okay.   I am also going to show you the
  21     letters that -- you did a letter to the editor of
  22     the American Family Physicians, I think.
  23                  MS. COLES:   We can mark this as Exhibit 3.
  24                  (Exhibit 3 was marked for identification.)
  25


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   1     BY MS. COLES:
   2           Q    Tell me what prompted you to write this
   3     article.
   4           A    So the American Family Physicians, which
   5     is the in-house journal for the American Academy of
   6     Family Physicians, I think that's their acronym, I
   7     am not sure.    But essentially family physicians,
   8     their professional organization, published an
   9     article about testosterone treatment which I looked
  10     at and it's actually not in -- I don't think I
  11     mentioned it in the actual letter to the editor but
  12     the two providers who wrote that article, one of
  13     them is Rob Winn, who was a colleague of mine, and I
  14     was really surprised because most of the
  15     testosterone treatment that Rob does or did at the
  16     time was for transgender patients.        And so we talked
  17     about it and I said, why did you not talk about
  18     trans care?     He wanted to; they wouldn't let him.
  19                So that's why I wrote the reply.      He was
  20     required to take that out of his paper.
  21           Q    And you indicate here that even -- even
  22     when insured -- even when transgender individuals
  23     have insurance, basically most health insurance
  24     policies in the United States specifically exclude
  25     transgender-related care.


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   1                Is that accurate as of 2006?
   2           A    Yes.
   3           Q    It looks like they did a response back.
   4     Are you familiar with their reply to your letter?
   5           A    Yes.
   6           Q    It looks like they indicated, or at least
   7     Katherine Margo, M.D., who wrote back to you
   8     indicated that "unfortunately, the scientific
   9     literature on this topic is limited.    A few studies
  10     have looked at the effect of testosterone for
  11     transgender men and have found some benefit in
  12     quality of life, but little in the way of adverse
  13     effects, although we are unaware of any randomized
  14     controlled studies on the subject."
  15                Is that accurate that as of 2006, there
  16     were no randomized controlled studies on the
  17     subject?
  18           A    I believe so, but that's also because this
  19     is something that I don't think you could get an IRB
  20     to approve a randomized controlled trial on this.
  21     The best thing you could possibly do is assess
  22     people prior to treatment and after treatment.
  23           Q    Do you know if there's been any IRB
  24     requests for this, to do a randomized control study
  25     on testosterone in transgender individuals?


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   1           A   I have no idea if anybody's requested it,
   2     but not to my knowledge.
   3           Q   All right.     You reference in your report
   4     that there are several other medical organizations
   5     that have -- that recognize the WPATH framework as
   6     authoritative, as the most authoritative framework,
   7     including the American Medical Association, the
   8     American Psychiatric Association, the American
   9     Psychological Association, and the American Academy
  10     of Pediatrics.   Is that right?
  11           A   I am reading through.    Yes.
  12           Q   Right.   It looks like you are a member of
  13     the American Medical Association.
  14           A   I don't think my membership is current.
  15           Q   You have been a member?
  16           A   I have been, yes.
  17           Q   Would you agree that you are not a member
  18     of the American Psychiatric Association or the
  19     American Psychological Association or the American
  20     Academy of Pediatrics?
  21           A   Yes.
  22           Q   The American Medical Association has
  23     issued a policy statement relating to gender
  24     dysphoria, is that correct?
  25           A   They have more than one policy statement.


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   1           Q     The one that you are referencing, are you
   2     referencing a specific resolution relating to kind
   3     of the adoption of the WPATH standards?
   4           A     So that particular resolution, I was -- I
   5     was a member of the AMA at that time and I was on
   6     the LGBT advisory group, committee, I am not exactly
   7     sure what the name was, section, but I was actually
   8     involved in the passage of that.     And essentially
   9     what that is is a statement of this is what we
  10     should do and these are the reasons that we should
  11     do it, A, B, C, D, and E.    And part of that
  12     referenced WPATH.    And then based on that
  13     information, the AMA passed the resolution.
  14             Q   And the AMA has a lot of different policy
  15     resolutions, would you agree?
  16             A   About trans care?
  17             Q   About all kinds of things.
  18             A   Yes, about all kinds of things.
  19             Q   For example, I saw there was a resolution
  20     against toy guns.    Have you read that one?
  21           A     I haven't read that one, but I will take
  22     your word for it.
  23           Q     Also there's resolutions on both medical
  24     cannabis and recreational cannabis.      Have you read
  25     them?


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   1           A   No, but I am happy to read them if you
   2     want to show them to me.
   3           Q   Do you know if the AMA issued a policy
   4     statement on universal versus individually selected
   5     health insurance, basically private health insurance
   6     versus universal health insurance?
   7           A   I don't know if they have, but I would be
   8     surprised if they hadn't.
   9           Q   Do you know which way they went on that?
  10     Do you have an opinion as to which way the AMA would
  11     fall on private pay insurance versus universal
  12     healthcare?
  13           A   Ten years ago, I would have been
  14     absolutely certain that they would fall on the side
  15     of private insurance.
  16               Today I am not really sure because there
  17     is more and more recognition in the medical and
  18     other healthcare professions that there are
  19     significant medical, ethical, and other benefits to
  20     having a single payer system.
  21               So it would depend on when that was.      I
  22     would never presume that the AMA would definitely
  23     come out in favor of universal healthcare.    But
  24     there is a possibility that if it was recent, they
  25     might have.   But 10 years ago, no, I don't think


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   1     they would have.
   2           Q      Are there any texts that you consider
   3     authoritative as it relates to the treatment of
   4     gender dysphoria?
   5           A      It depends on what your definition of
   6     authoritative is.     For me, there are guidelines in
   7     many aspects of my practice that I think really get
   8     things right, and those guidelines I follow in the
   9     majority of cases, but there may be instances where
  10     I depart from those.      And again, not just in gender
  11     dysphoria.
  12                  Like, for example, the American Heart
  13     Association puts out guidelines for the treatment of
  14     cardiac arrests.    And those guidelines are aimed to
  15     provide a framework for people who aren't
  16     resuscitating people that often, to do the best
  17     things, do this and then do this and then do this,
  18     if this is the case then do this.         So literally you
  19     could have a card in your pocket that has that on
  20     it.   And if you are a family practice doc and
  21     somebody arrests in your office, nobody wouldn't
  22     follow that.     Right?
  23                  But as an ER physician, I do this quite
  24     frequently, and there are situations where it's
  25     appropriate to depart from that.      For example, if I


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   1     see somebody who has a dialysis shunt in their arm,
   2     I know they are a dialysis patient, they are much
   3     more likely to have elevated potassium as the cause,
   4     so instead of waiting five steps down to maybe treat
   5     elevated potassium, I might do that as first
   6     intervention or first after CPR.      There's medical
   7     intervention.    But that's because I have experience
   8     and feel comfortable departing from those
   9     guidelines.
  10               So I've never seen a guideline that I
  11     think an experienced professional couldn't vary from
  12     in some certain circumstances; and if that's what
  13     you mean by authoritative, I would say the WPATH
  14     guidelines for medical treatment, there's several --
  15     the Endocrine Society guidelines are good, I think
  16     our guidelines at TransLine are good, I think Calvin
  17     Lawrence guidelines are good.      But again, there's
  18     none of those that I one thousand percent agree with
  19     and don't depart from in infrequent situations where
  20     it's appropriate to depart from them.
  21           Q   Makes sense.     Do you have any opinion as
  22     to whether or not children or adolescents under 16
  23     can give informed consent to hormone blockers or
  24     cross-sex hormones?
  25           A   In the United States, in almost all


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   1     incidences, they would not give consent, they would
   2     give assent.
   3           Q     What does that mean?
   4           A     So say, for example, you have a kid who
   5     needs, I don't know, knee surgery and you are the
   6     parent and you consent to it.      If the child is an
   7     older adolescent, they should be involved with that
   8     too, but what they are giving is not consent but
   9     assent.    That's just the words we use in medicine.
  10                 And so can 16-year-olds assent?
  11     Absolutely.    In rare circumstances could they
  12     consent, like if they are declared a mature minor,
  13     sure.     But in almost all cases under 18 for all care
  14     really in the United States, parents consent and
  15     then the child assents or doesn't assent.
  16           Q     Are you familiar with the order that just
  17     came out in England relating to the use of puberty
  18     blockers or cross-sex hormone in children or
  19     adolescents under 16?
  20           A     Yes.   Not entirely, but I have the gist of
  21     what's going on.
  22           Q     What's your understanding of what the
  23     court's ruling was?
  24           A     My understanding, and again, this is -- I
  25     haven't read anything official -- is that the


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   1     National Health Services is not going to pay for
   2     them because of that ruling.    I don't think it's
   3     that they don't treat trans children.      There are a
   4     lot of parents and kids who are absolutely panicked
   5     and unfortunately, I think it may push kids into
   6     cross-sex hormone therapy earlier because honestly
   7     cross-sex hormone therapy is a lot cheaper, and
   8     hormone blockers are -- I mean, they are not
   9     outrageously expensive but they are out of reach for
  10     somebody who is not at least upper class.
  11           Q    Do you know if under the court's ruling
  12     providers are permitted without a court order to
  13     give puberty blockers or cross-sex hormones to
  14     children under 16?
  15           A    I have no idea.
  16                MS. COLES:    I don't think I have any more
  17           questions.   Daniel may have some.
  18                MR. TILLEY:   Not a lot.
  19                        CROSS EXAMINATION
  20     BY MR. TILLEY:
  21           Q    Dr. Gorton, do you recall testifying
  22     earlier today about -- not the WPATH Standards of
  23     Care, but the standard of care being different
  24     potentially in a suburban setting versus an
  25     impoverished urban setting where individuals might


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   1     not have insurance?       Do you recall that testimony?
   2           A      I do.
   3           Q      Why would the standard of care be
   4     different?     In other words, is there a medical
   5     reason why the person should be treated differently?
   6     Is there a practical reason why they are treated
   7     differently?     Is there some other reason why there
   8     is a disparity in the standard of care?      Can you
   9     just explain that for us?
  10                  MS. COLES:    Form.
  11           A      Sure.   Again, I have to clarify that there
  12     are two concepts:     The WPATH Standards of Care and
  13     the standard of care for medical treatment, or
  14     surgical treatment or mental health treatment.
  15                  And the concept of standard of care is a
  16     local or sometimes regional accepted pattern of
  17     treatment that you would have for people.      And
  18     that's not -- just laying aside the WPATH Standards
  19     of Care for a moment.       And there are multiple
  20     reasons why it may be a different standard of care
  21     in a lower resourced practice versus a higher
  22     resourced practice, and part of that is because
  23     insurance.
  24                  If you have really good insurance, I can
  25     say, well, hey you, you injured your knee, I am


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   1     going to order an MRI today.      Right?    And that might
   2     be considered the standard of care in a highly
   3     resourced area.
   4                If you are in a low-resourced area, the
   5     insurers may say no, no, no, you can't do that MRI
   6     now, you first have to do an x-ray.        And if that's
   7     normal, then the patient has to go to physical
   8     therapy.   And if the patient fails physical therapy,
   9     then we'll let you do an MRI.      Right?
  10                So with regards to insurance, it's
  11     sometimes the hoops you have to jump through.       It's
  12     also sometimes the availability of specialists
  13     within a given network, right?      So there are fewer
  14     slots at the pulmonologist's office for kids with
  15     asthma in a low-resourced setting because many of
  16     those kids are either going to be uninsured or
  17     underinsured.
  18                So if you took a kid with moderate to
  19     severe asthma who lived in a very well-resourced
  20     area and his primary care provider didn't get his
  21     asthma completely well controlled, it might be
  22     standard of care to just refer that kid, they might
  23     need to see a pulmonologist.
  24                In a kid who has no insurance, who there
  25     is no pulmonologist who will see them, doing the


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   1     best you can with what you have might be the only
   2     thing you can do.
   3               And there's no medical reason that those
   4     levels of treatment should be different, right?      But
   5     there are practical reasons such as insurance
   6     coverage, insurance networks, and also too
   7     resources, what resources does the parent have?
   8                  If you have a well-off couple that one of
   9     the couple stays at home with the kids, it's really
  10     easy for them to go to as many specialists'
  11     appointments as you want them to, whereas a kid
  12     who's got a single parent, that may mean missing a
  13     day of work, so you might not be able to do that
  14     based on the realities of people's lives.
  15     BY MR. TILLEY:
  16           Q      And tying that into treatment for gender
  17     dysphoria, can you describe the benefits, if any,
  18     that you have seen from increased access to coverage
  19     for gender dysphoria and conversely any harm you
  20     have seen, if any, for lack of treatment for gender
  21     dysphoria?
  22                  MS. COLES:   Form.
  23           A      Should I still answer?
  24                  MS. COLES:   Yeah.
  25           A      Okay.   The most relevant experience I can


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   1     bring to that is the fact that I practiced for a
   2     number of years in an environment where the only
   3     thing I could offer patients was medical treatment,
   4     mental health treatment, and helping them change
   5     identity documents, for example.
   6               And then in really 2011, because a lot of
   7     my patients are Medicaid patients, things changed
   8     rather abruptly and all of a sudden this patient who
   9     needed say chest surgery in a trans man who has been
  10     suffering a great deal of dysphoria, we did as much
  11     as we could with hormones, we did as much as we
  12     could with mental healthcare, and despite that, he
  13     can't shower with the lights on because he can't
  14     stand seeing his chest.   And so all of a sudden this
  15     patient comes in for a visit and I'm like, hey,
  16     would you like me to refer to you a surgeon to do a
  17     mastectomy?   And it was -- I kind of always knew
  18     that there would be a difference.       I wasn't -- I
  19     underestimated the difference that it made when
  20     people had access to surgery as far as their mental
  21     health outcomes, their social functioning.      And so
  22     there's huge harms of not providing surgery.
  23               I had a patient once who came to the
  24     office who tried to castrate herself who spent --
  25     had two or three trips to the operating room, was in


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   1     the ICU for more than a week, was in the hospital
   2     for weeks, because she didn't have access to that
   3     care.     And the even more frightening part for me was
   4     that this happened over the weekend.      I saw her on a
   5     Monday or a Tuesday and she hadn't gone to the ER
   6     because she was too scared to go to the ER.      So she
   7     waited with this exquisitely painful scrotum with --
   8     it was just horrible.     I mean, I am an ER doctor; it
   9     was one of the most horrible infections I had seen.
  10     She waited on that because she couldn't bring
  11     herself to go to the ER.
  12                 And I wrote a letter and explained
  13     everything, I called the ER, I said this patient is
  14     coming, we are sending her in an ambulance.      So I
  15     mean, that's probably the worst negative outcome
  16     that I have seen for patients who don't have access
  17     to care.
  18                 But I underestimated how beneficial it was
  19     going to be for patients.
  20     BY MR. TILLEY:
  21           Q     Talking more about potential harms from
  22     lack of treatment, can you articulate what, if any,
  23     harms could befall a transgender woman who you
  24     believe has a medical need for facial feminization
  25     surgery but is not able to access that surgery?


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   1           A      There are two broad categories that
   2     overlap as well, but this is sort of how I would
   3     think about it.
   4                  One is that a very masculine face for a
   5     trans woman could be a source of tremendous gender
   6     dysphoria.     I have had patients who took the mirror
   7     out of their bathroom because they just couldn't
   8     look at themselves in the face.
   9                  And so the ability to eliminate a
  10     significant proportion of patients with gender
  11     dysphoria, which is -- it's debilitating, it's like
  12     we talk about depression/anxiety and those are often
  13     co- sort of we diagnose them as co-occurring
  14     diagnoses for trans patients, but those sometimes go
  15     away after appropriate treatment.         But it's just
  16     it's a really psychological painful thing to
  17     experience.     I mean, it's better when people have
  18     needed surgeries.
  19                  The other issue, though, too, is that a
  20     trans woman who is nonconforming, is visually
  21     nonconforming with what our society expects a woman
  22     to be, is at a tremendously increased risk of
  23     interpersonal violence.     If you can be read as
  24     transgender, you have a target painted on your back.
  25     Like everybody remembers the Gwen Araujo case, it


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   1     was a trans girl who was murdered and the reason
   2     that this happened was because they discovered she
   3     was trans.    If they had not figured out she was
   4     trans, she would still be alive.
   5                  And so that's what people face.     I have a
   6     colleague who is a trans woman.      She is never going
   7     to pass grade.     She is doing a lot better than she
   8     has previously, but she calls herself 5-foot 15, so
   9     she is 6'3", she has broad shoulders, she has a
  10     deeper range, not the worst I've heard, but deeper
  11     range voice, and before she had facial surgery, she
  12     did not pass in 100 percent of the circumstances.
  13                  After, she passes more.      But we were -- we
  14     actually went out to dinner one night and she said,
  15     yeah, when I decided to transition, I had to accept
  16     the fact that even though I am a physician and so
  17     very enfranchised in our society, there is a
  18     significant chance that when I die, it will be
  19     because somebody kills me.
  20                  And I was blown away by that, partially
  21     because she's like me, she's a doctor.
  22                  Now, trans men have more passing
  23     privilege.     Nobody is going to see me go to a men's
  24     bathroom and have a problem with it.         But my
  25     colleague going into a woman's bathroom in public,


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   1     that's a life threat for her.    So and that's
   2     somebody who is enfranchised, that's somebody who's
   3     a physician who doesn't have to put yourself in
   4     certain situations if she doesn't choose to.     I have
   5     patients who are homeless on the street and they
   6     don't have a place to retreat to.      So these can be
   7     life or death surgeries.
   8           Q   You mentioned your colleague who I think
   9     you said is 6'3" and had broad shoulders.     Is there
  10     any treatment she could have received earlier in
  11     life that would have led to her being not as
  12     masculinized as you described?
  13               MS. COLES:    Form.
  14           A   She absolutely would not have gone through
  15     male puberty if she had had available to her GnRH
  16     antagonist puberty blockers.    She would not have
  17     gained that height, she would not have had as broad
  18     shoulder development, her facial features would not
  19     have masculinized, and she probably could have also
  20     gotten away with fewer surgeries, like no facial
  21     feminization surgery.
  22               You know, hormone blockers at earlier
  23     puberty and then starting cross-sex hormone
  24     treatments even at age 18, she would have had more
  25     chest development and what chest development she had


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   1     would have been more proportional to her physique.
   2                  But the die is cast.   Once you go through
   3     male puberty, the voice can't come back up.     Facial
   4     hair can be removed but it's going to leave scars.
   5     Your facial features can be improved but they are
   6     not going to be perfect.     There is no way to shorten
   7     your height appreciably.     So there are some things
   8     you just can't undo.
   9     BY MR. TILLEY:
  10           Q      I'm going to switch gears for just a
  11     moment.     Do you recall testifying earlier about the
  12     quality of research concerning treatment of gender
  13     dysphoria?
  14           A      Yes, I think there were several questions.
  15           Q      Can you tell me what is the treatment for
  16     Tylenol overdose?
  17           A      There's a medicine called N-Acetylcysteine
  18     or people call it NAC, N-A-C, all capitalized.
  19           Q      Are there randomized control trials that
  20     support the use of that medication to treat Tylenol
  21     overdose?
  22           A      There are no trials that compare
  23     N-Acetylcysteine to no treatment, so the traditional
  24     placebo controlled double-blinded randomized trial.
  25     There's a few trials about dosage and should we give


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   1     it in this borderline circumstance, should we give
   2     it in this borderline circumstance.       There's also
   3     research about using it for other things too.      But
   4     for Tylenol overdose, there's no randomized control
   5     trial.
   6           Q     And why is that?
   7           A     Because once we figured out that if
   8     somebody takes a uniformly fatal overdose of
   9     Tylenol, that will uniformly destroy their liver and
  10     kill them within a matter of less than two weeks.
  11     So there was a time when we couldn't treat that and
  12     if you swallowed that Tylenol, there was nothing we
  13     could give you.
  14                 Then we figured out if you give people
  15     N-Acetylcysteine, I don't care how much Tylenol you
  16     took, as long as you come in within a certain number
  17     of hours after the overdose, we can prevent all of
  18     that.     So you have a drug that takes a uniformly
  19     fatal diagnosis and makes it uniformly survivable.
  20                 So it is completely unethical to think
  21     about doing a randomized controlled, placebo
  22     controlled trial because by doing so you have this
  23     treatment that is uniformly lifesaving and you are
  24     denying it to the placebo participants and you are
  25     going to kill them, they will die from it.       So you


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   1     can't do that study; I can't even think anybody
   2     would come up with that study, it's just insanity.
   3           Q   Do you think it would be ethical to
   4     conduct a randomized controlled style of providing
   5     gender-affirming surgery versus providing no surgery
   6     for transgender people?
   7           A   Placebo controlled, no.      If there -- it
   8     might be possible to say, well, look, we know
   9     surgery helps, we have enough evidence that it
  10     decreases suicidality, it decreases adverse mental
  11     health outcomes, so we have enough evidence to say
  12     yes, this works.   But maybe we'll treat some people
  13     now and we'll delay a year to treat some people, you
  14     might be able to do that.
  15               But predominantly what you have are
  16     studies where the patients were their own controls.
  17     That is, how well were you functioning before buffer
  18     intervention and how well afterwards?     How much
  19     people were suicidal before intervention and how
  20     much afterwards; assessments of gender dysphoria,
  21     depression/anxiety before and after.     And those are,
  22     I think, reasonable, ethically reasonable studies.
  23               Just flat out delay, I think that would be
  24     hard but you might be able to do that, especially if
  25     you had super informed consent about it.


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   1                   MR. TILLEY:   That's all the questions I
   2           have.
   3                   MS. COLES:    I have a few follow-up
   4           questions.
   5                       REDIRECT EXAMINATION
   6     BY MS. COLES:
   7           Q       With regard to the Tylenol overdose
   8     hypothetical, Tylenol, as you described it, it
   9     sounds like a Tylenol overdose can be eminently
  10     fatal?
  11           A       If not treated and you took a high enough
  12     dose of Tylenol, it will be 100 percent fatal.
  13           Q       Okay.
  14           A       Unless you get a liver transplant.     That's
  15     the one salvage maneuver.
  16           Q       In what type of time frame?   Like if you
  17     had the -- if you had an overdose of Tylenol that's
  18     large enough to be fatal, what's the time frame?
  19           A       If you did not get transplanted within, I
  20     would say at least under a month, that's the end.
  21                   Previously, even now, overdoses of Tylenol
  22     that come in too late, they are not early enough for
  23     the treatment to be lifesaving, they go on
  24     transplant lists and they are bumped to the head of
  25     the line.


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   1           Q    Because if the dose is high enough, it's
   2     100 percent fatal?
   3           A    Without transplantation and without early
   4     treatment, yes.
   5           Q    Okay.   Do you know what percentage of
   6     transgender individuals who do not -- who are not
   7     able -- who desire but do not obtain
   8     gender-affirming surgery attempt suicide?
   9           A   Again, it's a little different in the U.S.
  10     than in Europe.    And part of that difference is
  11     they've just been treating patients for longer, and
  12     patients in Europe know it might take a while, but
  13     if I jump through all the hoops, I can get the care
  14     I need.   And saying that to somebody is very
  15     different from saying, yeah, nobody is going to pay
  16     for it and we don't know when it's going to happen.
  17                So going back to the time before treatment
  18     was available in the U.S., there are a number of
  19     studies that assess patients who are trans who are
  20     adults and say, hey, have you ever been suicidal
  21     about this, and the rates in the U.S. are pretty
  22     high, like 30 percent or so, 40 percent or so.
  23                There was actually --
  24           Q   Who attempt or complete?
  25           A   By definition it would be attempt because


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   1     you couldn't survey somebody if they completed.
   2           Q    Okay.
   3           A    For example, the kind of best U.S. dataset
   4     is the U.S. Trans Survey, which was published --
   5     they published their detailed version of everything
   6     they found out about trans Americans and they made
   7     the dataset available to other providers to analyze;
   8     such as -- actually Dr. Levine referenced Jack
   9     Turban's study.    That was actually that same
  10     dataset.
  11                So he basically -- Dr. Turban's article
  12     basically states -- what he looked at was -- so this
  13     is people answering as adults and asking would you
  14     have wanted puberty blockers as an adolescent if it
  15     would have been available, and that's one group.
  16     And there's another group that actually got puberty
  17     blockers as an adolescent, and then he looked at
  18     their mental health outcomes and suicidal ideation
  19     risk, and it was -- I am not sure if it was the
  20     mental outcomes or suicidal ideation outcomes, but
  21     one of the two reached statistical significance and
  22     the other was close.   And that's actually in a
  23     relatively small study group because there's not
  24     many adults in the U.S. who got hormones at -- or
  25     who got hormone blockers at puberty, so it's a


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   1     relatively small group.
   2               So when you are studying a small group, to
   3     reach statistical significance, there has to be
   4     bigger effects size because the signal will get lost
   5     in the noise in a small group much easier than the
   6     signal getting lost in the noise in a bigger group.
   7     So the fact that he reached statistical significance
   8     in one aspect and near significance in the other in
   9     this really small group actually is pretty good
  10     argument that they do.
  11           Q   So it sounds like there's data that says
  12     30 to 40 percent of transgender individuals who do
  13     not get gender-affirming surgery attempt suicide.
  14               Do you know what percentage of transgender
  15     individuals who do not get gender-affirming surgery
  16     actually complete suicide?
  17           A   I don't think in the U.S. anybody has ever
  18     studied that because -- for a lot of reasons --
  19     because it's hard to find that data.   If the
  20     Department of Public Health classes you as a male
  21     even though you are a transgender woman, we are not
  22     going to find that.
  23           Q   Do you know what percentage of transgender
  24     individuals attempt suicide even after
  25     gender-affirming surgery?


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   1           A   It is lower but it's still higher than
   2     what we call the nonclinical population, which is
   3     everybody in society, the majority of which don't
   4     have any mental health conditions.        I couldn't give
   5     you an exact number, but I do know that there is an
   6     effect but it doesn't completely normalize at least
   7     in adult patients.
   8               There's one study of adolescents treated
   9     with hormone blockers that in Sweden I am pretty
  10     sure at the Karolinska Institute who -- they
  11     basically looked at kids who were treated earlier on
  12     in adolescence with their protocol, which they are
  13     the first ones that published their data about it.
  14     And those kids, when they reached adulthood, were
  15     indistinguishable from the nonclinical population.
  16           Q   Do you know if there is a percentage of
  17     children who outgrow gender dysphoria?
  18               MR. TILLEY:     Object to the form.
  19     BY MS. COLES:
  20           Q   You can still answer.      Who experience
  21     gender dysphoria for a time, even without treatment
  22     their dysphoria will resolve?
  23           A   There are -- most providers, except that
  24     Tanner 2 which -- they are called Tanner stages of
  25     development up through five that essentially show


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   1     where you are in puberty.     So a little bit into
   2     puberty, kids at that stage very rarely, what we
   3     call desist, like later say, no, my identity is
   4     different.    There are some kids whose final ultimate
   5     solidified identity is actually different in
   6     different environments, I am not talking about them.
   7     I am talking about people who kind of felt this is
   8     my solidified identity at age 10 as different from
   9     my solidified identity at age 18.
  10                  If you look at kids below that age, or
  11     below that stage of development, it's not a
  12     numerical age so much, there are kids who do not
  13     persist.
  14                  The other problem that you have too is
  15     that previously the diagnosis of gender identity
  16     disorder in childhood like in DSM-IV, you could
  17     actually have that diagnosis without actually saying
  18     or feeling that you feel like the other sex or a
  19     different sex.    If you had enough checked boxes for
  20     essentially gender stereotypical or cross-gender
  21     stereotypical behaviors for kids assigned male at
  22     birth, do they like to play house, are their friends
  23     mostly girls, do they not want to do rough and
  24     tumble play, the sort of gender stereotypes we have,
  25     you can actually take a kid who never said I am a


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   1     girl, never said or never expressed any gender
   2     dysphoria either to their parents or to the
   3     therapist and still diagnose them with that.
   4               And it's better in DSM-5 in that there's
   5     still a list of things that you need to qualify for
   6     the diagnosis, but one of them has to be that
   7     cross-gender identification.
   8               And so especially if you look back in old
   9     research using the older diagnostic code, there were
  10     a lot more kids who desisted, in quotation marks,
  11     because they probably weren't trans to begin with.
  12     They were maybe destined to grow up to be effeminate
  13     gay men or butch lesbians.   You know, I mean, you
  14     talk to most effeminate gay men, yeah, when they
  15     were kids they probably liked to play house and they
  16     had more female friends.   Again, we are talking
  17     about horrible gender stereotypes, but if you look
  18     there is a percentage of effeminate gay men who met
  19     the criteria but they are not trans; they always
  20     identified as a boy.
  21           Q   Would you agree that the child -- the
  22     criteria for diagnosing gender dysphoria in children
  23     absolutely requires the clinician to classify the
  24     child based on some pretty blatant cultural
  25     stereotypes of what behaviors are appropriate for


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   1     boys and girls?
   2           A     I think DSM-IV was really wrong in that
   3     regard, that you could take a child who never
   4     expressed any cross-gender identification and
   5     diagnose them as being -- as having gender dysphoria
   6     or gender identity disorder at the time.
   7                 I think in DSM-5 they improved in that
   8     they say you have to express in some way or another
   9     a cross-gender identity for someone assigned male at
  10     birth wanting to use her pronouns, saying I want to
  11     be a girl, I am a girl on the inside, when I grow up
  12     my penis is going to fall off and I am going to grow
  13     a vagina.    Kids have magical thinking sometimes.
  14                 And so currently the diagnosis is much
  15     better because it requires that you have to sit down
  16     with the kid and say what is your gender identity in
  17     an age appropriate and developmentally appropriate
  18     fashion; where before, no, you could take the kid
  19     who is going to grow up to be the butch lesbian and
  20     just based on those behaviors diagnose them with
  21     gender identity disorder.    And there are a lot of
  22     people who said this is used as back-door diagnosis
  23     to diagnose homosexuality.
  24                 And so the previous one, yes.   The current
  25     one you have to have that cross-gender identity and


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   1     one from the following the list and some of those
   2     are stereotypical behavior, but that's because you
   3     can't just ask the kid, you have to watch the kid
   4     and see what the kid does.      So, yes, some assessment
   5     of their behaviors.     Are they -- if the kid says I
   6     was assigned a male at birth and I am a girl and I
   7     want to be a girl, I hate my penis, I want it to go
   8     away, call me Mary, don't call me John, that's
   9     pretty good evidence, but then also there has to be
  10     some observation of the child.      You need both
  11     objective and subjective data.
  12           Q   How do you know -- how do we know that the
  13     child isn't just -- the child likes the behaviors
  14     that girls get to do that boys aren't allowed to do
  15     and so associates them with I like these things,
  16     then I must be a girl and I want to be a girl?
  17               Is that gender dysphoria or is that
  18     something different, which is the insidious
  19     cultural, you know, enforcement of these gender
  20     stereotypes on a child who then is constricted to
  21     either being male or female because they want to do
  22     the things that the other gender gets to do?
  23               MR. TILLEY:     Form.
  24     BY MS. COLES:
  25           Q   Like play with dolls.


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   1            A    So it is absolutely the case that our
   2     society enforces gender norms on kids, from the time
   3     of the gender reveal party to adulthood.       In the
   4     majority of cases, kids who express a continuous,
   5     not just on Tuesday, but years long cross-gender
   6     identity, they are not likely to change at puberty.
   7     There are a small number who do and that's why most
   8     recommendations are to watch the kid until they get
   9     to Tanner stage 2, until puberty has actually
  10     started for a little bit.
  11                 Because after that time, there's two
  12     things that happen.     One, the kid is experiencing
  13     puberty as appropriate to their sex assigned at
  14     birth, and the prevailing theory is maybe that will
  15     change their identity or help them clarify their
  16     identity.    But also, too, those kids are older, more
  17     mature.     So the magical thinking that the
  18     five-year-old has is not present in the 12-year-old.
  19     Right?
  20                 So it's both the case that first start of
  21     puberty often clarifies the diagnosis.    But then
  22     also you can talk to a 12-year-old about this in
  23     more of a concrete manner than you can a five-year
  24     old.
  25                 So it's both the diagnostic certainty but


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   1     also allowing natural puberty to just start for a
   2     bit because kids who are trans and natural puberty
   3     starts, their mental health goes haywire.   Kids who
   4     are not trans -- when I say not, they may -- kids
   5     who won't ultimately in adulthood identify as trans,
   6     they don't have that desperation, that significant
   7     worsening of their mental health status.
   8           Q   Do you think if -- if hypothetically,
   9     obviously this is going to be a hypothetical
  10     question, but if hypothetically there were no --
  11     there were absolutely no culturally imposed sex
  12     stereotypes or culturally imposed gender roles, do
  13     you think gender dysphoria would still exist?
  14           A   I think that's a -- that's an unanswerable
  15     question, but I can give you an example that might
  16     be instructive.
  17               So a colleague of mine had a trans kid
  18     who -- now this colleague is a lesbian woman, and
  19     she and her partner were the most accepting, the
  20     most nurturing parents you've ever seen.    So when
  21     their kid wanted to -- at three, took them aside and
  22     said, mommas, you are hurting my heart, and you have
  23     to know me, and they took that very seriously and
  24     they got their kid into therapy; they sort of did
  25     everything right as far as if you want to play with


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   1     a truck, you play with a truck, we'll buy you the
   2     truck.    If you don't want to play with dolls, you
   3     don't have to play with dolls.     If you don't want to
   4     wear girly shoes, you don't have to wear them.
   5     Everything possible.
   6                 And they were very sort of -- they were
   7     good advocates for him in that -- for example, when
   8     he wanted to play a youth sport at an age when girls
   9     and boys, there's no skill or ability or body
  10     differences, they needed -- I wrote the kid a letter
  11     and said let him play on the boy's team, there's no
  12     difference, a six-year-old is a six-year old and, in
  13     fact, probably girls developmentally mature a little
  14     bit faster.    So you don't have to worry about it.
  15     You are not going to break him.     He is fine to do
  16     this.
  17                 His parents, like exposed him to trans
  18     adults so he could see what it's like, so he
  19     could -- positive experiences, right, did everything
  20     right, and their kid was suicidal when he was nine.
  21     It's not just society.
  22                 There's sort of a thought experiment, and
  23     I've asked a lot of trans people this, patients,
  24     nonpatients, colleagues, people I know in the
  25     community, and the answer is universal.    So the


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   1     thought experiment is, before you transition or if
   2     you haven't transitioned already, I am going to put
   3     you on a desert island.    All your needs will be
   4     taken care of, you will get food, clothing, shelter,
   5     medical care, but you are never going to see another
   6     person in person; you will have the internet, you
   7     can communicate online but you will never see
   8     another person for the rest of your life.     Before
   9     you go to that desert island, do you want surgery,
  10     do you want hormones?     And I have never met a trans
  11     person who is either a patient of mine, a colleague,
  12     nobody I've asked this question to has said, no, I
  13     don't want the treatment before I go.
  14               It's not just societal interactions.      It's
  15     how you feel felt about yourself.      That's why I had
  16     patients that couldn't shower with the lights on.
  17           Q   You'd agree you can't really -- it's
  18     impossible to measure because even your example, I
  19     mean the family may have been accepting of the
  20     child, but that doesn't change the experience at
  21     daycare or in first grade or second grade or around
  22     the other children and how they all interact and
  23     impose upon each other gender stereotypes?
  24           A   There's no way to get rid of all of that.
  25     But if there is an ideal situation, his parents did


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   1     it.   He was -- he was a boy at school, he used the
   2     boys' bathroom.    They were, like I said, they were
   3     fierce advocates for this kid.
   4               So I can't say what it would be like if
   5     society didn't have gender roles because there is no
   6     society that's like that.   But I can say, even if
   7     you minimize, absolutely minimize those effects,
   8     it's still a serious mental health issue, people
   9     suicidal or not.
  10           Q   You indicated that most providers accept
  11     that when you get to the Tanner stage 2 kids rarely
  12     desist.   Do you know if the plaintiff in that UK
  13     case, Ms. Bell, whether she desisted?
  14           A   Again, I don't know details about it.      I
  15     would be happy, if you want me to read something, to
  16     look at it.
  17           Q   Back in -- back prior to -- so from the
  18     20 -- I think you started providing care at
  19     Lyon-Martin around 2005, did you say?
  20           A   Yes.
  21           Q   Okay.    From 2005 until there was a change
  22     in your patients actually getting health insurance
  23     benefits that would cover gender-affirming
  24     surgeries, from 2005 we'll say to the 2010-2014 time
  25     period, what percentage of your patients that you


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   1     know of attempted suicide that were unable to get
   2     gender-affirming care?
   3           A    Previously?
   4           Q    Yes, in that time period when they were
   5     not getting health insurance benefits to cover it.
   6           A    Attempted suicide.     Over that entire time
   7     period, maybe 10 percent.
   8           Q    What about actually did commit suicide?
   9     And just to be clear, just so the record is clear, I
  10     am only asking about your transgender patients.
  11           A    Yeah.    Yeah.   You can never tell for
  12     certain.   I mean, sometimes you can, they leave a
  13     suicide note.      I would say less than five, and that
  14     includes people who -- if somebody has a drug
  15     overdose, was it intentional or unintentional?
  16     Knowing the patient, that would include those
  17     patients who I suspect that might have been the
  18     case.
  19           Q    You were describing earlier a colleague or
  20     friend of yours, the taller trans woman with the
  21     broad shoulders, and you were asked a question
  22     about -- you were asked a question on cross about
  23     whether or not there was anything that could have
  24     prevented her from being tall with broad shoulders.
  25                Do you know whether or not she sought


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   1     puberty blockers as a child or adolescent?
   2           A      Given her age and that she is probably
   3     about 10 years older than me, nobody was even using
   4     them then.     We are talking about like 1970.
   5           Q      You were asked some questions about harms
   6     associated with not covering gender-affirming care
   7     and then also benefits that you have seen for your
   8     patients following the coverage of gender-affirming
   9     care.
  10                  Have you conducted any studies on the
  11     benefits to patients following insurance coverage
  12     for gender-affirming care?
  13           A      I think we might have included that in the
  14     WPATH presentation I did in Thailand that someone
  15     entitled California Dreaming.      It was basically
  16     what's happened since during this period that
  17     things -- that things change so dramatically.         I
  18     can't be certain, but I think we talked about that,
  19     and that's not an IRB study or published in a
  20     peer-reviewed journal.     This is a talk presented at
  21     a conference and it was just a retrospective look.
  22           Q      That would be "California Dreaming:   Two
  23     Decades of Change in Health Insurance Law and
  24     Policy"?
  25             A    Yes.   And at the very least, we talked


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   1     about including that in the talk.            I am not sure if
   2     we actually did.
   3           Q      Is there a written paper or presentation
   4     that accompanied that?
   5           A      There was almost definitely an abstract
   6     that is probably on WPATH's website.
   7           Q      Conversely, have you conducted any
   8     research on the harms in not providing insurance
   9     coverage for gender-affirming care?
  10           A      No.    I am not a very research-inclined
  11     clinician.     I do the occasional dabbling but that's
  12     not my primary focus.
  13           Q      You indicated you had at least one patient
  14     that attempted self-castration.
  15           A      Yes.
  16           Q      How many patients have you had that
  17     attempted that?
  18           A      If you include patients that I evaluated
  19     for cases, in particular that Edmo case, three.
  20           Q      And did you refer those patients for
  21     additional psychotherapy or psychiatric health after
  22     those incidents?
  23           A      Yes, to the two in my clinic and I
  24     recommended that she have mental health follow-up in
  25     my report to the court, but I wasn't the one to do


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   1     the referral or psych referrals if those were
   2     needed.
   3           Q    Have you ever treated anyone with body
   4     dysmorphia?
   5           A    A couple, but not trans patients.
   6           Q    What treatment did you provide your
   7     patients with body dysmorphia?
   8           A    Body dysmorphia is actually kind of a --
   9     it is one of the -- it's a mental health diagnosis
  10     that is pretty complex and is sort of beyond primary
  11     care treatment, although certainly there is an
  12     element of primary care treatment.      So those
  13     patients were referred out.
  14           Q    I know the answer to this, but just in
  15     case, have you conducted any studies about the harms
  16     to individuals with gender-affirming -- I am sorry,
  17     let me start over.   Sorry, I am getting tired.
  18                Have you conducted any studies about the
  19     harms to patients suffering from gender dysphoria
  20     associated with not obtaining facial feminization
  21     surgery?
  22           A    Again, the only thing we -- like I said,
  23     that might have been included in that talk.        That's
  24     not really research, it's just sort of looking, gee,
  25     these are the patients we had with this.


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   1     Technically it is, but it's not like IRB-approved
   2     research.    It's just we looked at our data and this
   3     is what our data says.
   4           Q     By data, it would be your clinic?
   5           A     Yes.
   6           Q     I think you already said this earlier, but
   7     the standard of care -- not the WPATH Standards of
   8     Care, but what the standard of care basically means
   9     is what a reasonably prudent healthcare provider in
  10     the community would deem reasonably appropriate; is
  11     that accurate?
  12           A     That's not the only way you could define
  13     it, but that's a reasonable definition.
  14           Q     There are reasons other than just the
  15     availability of insurance coverage that the standard
  16     of care might be different in different communities;
  17     isn't that fair?
  18           A     Even in the same community over time; like
  19     in Los Angeles, they are basically doing crisis
  20     standards of care for patients in the hospital and
  21     the EMS system because they are so overwhelmed.     The
  22     care that would not be considered acceptable prior
  23     to the pandemic or after this cools down is
  24     considered acceptable in this context.
  25                 So it's the community, the context, the


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   1     time.       There's a lot of different variables that
   2     could go into it.
   3                   And also, too, one thing that I would add
   4     is the standard of care is different for different
   5     specialties.      So, for example, if I treat a patient
   6     in the ER for acute urinary retention, the standard
   7     of care that I would be held to is actually slightly
   8     different than the standard of care that a urologist
   9     would be held to because of their level of
  10     expertise.
  11                    So it can even be the same community, the
  12     same patient, the same time, the same context like
  13     the urologist could come to the ER, but different
  14     providers based on your experience in that area.
  15             Q      Makes sense.   Do you know whether or not
  16     with regards to say insurance coverage by regional
  17     area -- I understand there may be differences in who
  18     is insured and who is not insured, but like if I
  19     have a Florida Blue policy and I live in Miami,
  20     whether or not something is covered, that's not
  21     going to be different if I live in Tallahassee
  22     compared to Miami, agree?
  23             A      Insurance is a little more elaborate thing
  24     than that.       So, for example, in California, the
  25     Partnership Health Plan, which is the sort of --


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   1     each -- I won't say each, most counties, maybe all,
   2     in California have a Partnership Health Plan which
   3     is the health plan that you may select as a Medicaid
   4     recipient, as a Medi-Cal recipient.      And there may
   5     be other options, but the thing is those things
   6     covered in County X under Partnership may be subtly
   7     different from County Y.
   8                 And so when people say, well, I have Blue
   9     Shield insurance and I am like, that tells me
  10     nothing.    Do you have Blue Shield that's Medicare
  11     Blue Shield?     Is it a Medicaid Blue Shield?   Is it
  12     one that you bought on the Exchange?      Is it one from
  13     your employer?     Totally different insurance
  14     products.
  15           Q     Do you know whether or not if under the
  16     Florida State Health Plan that's at issue in this
  17     lawsuit, whether or not care is different -- let's
  18     say I pick the AvMed plan -- whether or not the
  19     benefits available to me under that plan would be
  20     different if I lived in Miami versus a rural county
  21     outside of Miami?
  22           A     The rules for coverage under one insurance
  23     plan can -- might be exactly the same but the care
  24     available if you live in a rural county is not the
  25     same as if you live in Miami.


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                                                               Page 122
   1               MS. COLES:    Agreed.
   2               I don't think I have any more questions.
   3     I don't know if Daniel has got more follow-up.
   4               MR. TILLEY:    No more questions from me.
   5     And Dr. Gorton will read.
   6               (Discussion off record.)
   7               THE WITNESS:    In the case of any
   8     questions, my e-mail address is
   9     nickgorton@gmail.com.         And if you would cc:
  10     Daniel because when I have like three or four
  11     nights in a row working, I am not always the
  12     most responsive but he knows how to get in
  13     touch with me.
  14               (Proceedings concluded at 3:48 p.m.)
  15
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   1                          CERTIFICATE OF OATH

   2

   3     STATE OF FLORIDA            )

   4     COUNTY OF LEON              )

   5

   6

   7

   8               I, the undersigned authority, certify that

   9     RYAN NICHOLAS GORTON, M.D. remotely appeared before

  10     me on January 4, 2021 and was duly sworn.

  11

  12               SIGNED AND SEALED this 7th day of January,

  13     2021.

  14

  15

  16

  17

  18

  19                        SANDRA L. NARGIZ, RPR, RMR, CRR, CCR
                            snargiz@comcast.net
  20                        Commission #GG172788
                            EXPIRES: APRIL 18TH, 2022
  21

  22

  23

  24

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   1

   2                        CERTIFICATE OF REPORTER

   3     STATE OF FLORIDA       )

   4     COUNTY OF LEON         )

   5               I, SANDRA L. NARGIZ, Registered

   6     Professional Reporter, certify that the foregoing

   7     proceedings were taken before me at the time and

   8     place therein designated; that my shorthand notes

   9     were thereafter translated under my supervision; and

  10     the foregoing pages numbered 1 through 124 are a

  11     true and correct record of the aforesaid

  12     proceedings.

  13               I further certify that I am not a

  14     relative, employee, attorney or counsel of any of

  15     the parties, nor am I a relative or employee of any

  16     of the parties' attorney or counsel connected with

  17     the action, nor am I financially interested in the

  18     action.

  19               DATED this 7th day of January, 2021.

  20

  21

  22

  23                        SANDRA L. NARGIZ, RPR, RMR, CRR, CRC
                            Notary Public
  24                        snargiz@comcast.net

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   1

   2
         January 7, 2021
   3
         RYAN NICHOLAS GORTON, M.D.
   4     c/o DAVID TILLEY, ESQUIRE
              dtilley@aclufl.org
   5

   6     RE:   Claire, Lane, Murphy vs. DMS, et al
               Case No. 4:20-cv-00020-MW/MAF
   7
         Dear Dr. Gorton:
   8
         Please take notice that on January 4, 2021, you gave
   9     your deposition in the above cause. At that time
         you did not waive your signature.
  10
         The above-addressed attorney has ordered a copy of
  11     the transcript and will make arrangements with you
         to read their copy. Please execute the Errata
  12     Sheet, which can be found at the back of the
         transcript, and have it returned to us at
  13     production@phippsreporting.com for distribution to
         all parties.
  14
         If you do not read and sign the transcript within
  15     thirty (30) days, the original, which has already
         been forwarded to the ordering attorney, may be
  16     filed with the Clerk of the Court.

  17     If you wish to waive your signature now, please sign
         your name to the blank at the bottom of this letter
  18     and return to the address listed below.

  19     Very truly yours,

  20
         Sandra L. Nargiz, RPR, CMR, CRR
  21     Phipps Reporting, Inc.
         1551 Forum Place, Suite 200-E
  22     West Palm Beach, Florida 33401

  23     I do hereby waive my signature.

  24     _____________________________
         RYAN NICHOLAS GORTON, M.D.
  25     Job No. 170036


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   1                                 ERRATA SHEET

   2          DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE

   3               In Re:     Claire, Lane, Murphy vs. DMS, et al
                            Case No.: 4:20-cv-00020-MW/MAF
   4                             RYAN NICHOLAS GORTON, M.D.
                                       January 4, 2021
   5
         PAGE   LINE        CHANGE                  REASON
   6     ____________________________________________________

   7     ____________________________________________________

   8     ____________________________________________________

   9     ____________________________________________________

  10     ____________________________________________________

  11     ____________________________________________________

  12     ____________________________________________________

  13     ____________________________________________________

  14     ____________________________________________________

  15     ____________________________________________________

  16     ____________________________________________________

  17     ____________________________________________________

  18     ____________________________________________________

  19     Under penalties of perjury, I declare that I have
         read the foregoing transcript of my deposition and I
  20     hereby swear that my testimony therein was true at
         the time it was given and is now true and correct,
  21     including any corrections and/or amendments listed
         above.
  22

  23     ____                     ______________________________

  24     Date                      RYAN NICHOLAS GORTON, M.D.
         Job No.      170036
  25


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